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 3
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 5   Email: dan@wsrlaw.net
 6
     General Bankruptcy Counsel to
 7   Chapter 11 Debtor and Debtor in Possession,
     424 GROUP, INC.
 8

 9                             UNITED STATES BANKRUPTCY COURT
10               CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
11
     In re:                                        Case No. 2:21-bk-19407-SK
12
     424 GROUP, INC.,                              Chapter 11 – Subchapter V
13
                                                   MOTION FOR ORDER APPROVING THE
14              Debtor and Debtor in Possession.   SALE OF THE DEBTOR’S CLAIMS FREE
15                                                 AND CLEAR OF LIENS, CLAIMS,
                                                   INTERESTS AND ENCUMBRANCES
16                                                 PURSUANT TO 11 U.S.C. §363(b)(1) AND
                                                   (f)(2); MEMORANDUM OF POINTS AND
17                                                 AUTHORITIES; DECLARATIONS OF
                                                   KATRINA SIRDOFSKY, DANIEL J.
18                                                 WEINTRAUB IN SUPPORT THEREOF
19
                                                   [Declaration of Chiouyi Chang filed
20                                                 concurrently herewith]

21                                                 Hearing:
                                                   Date: November 23, 2002
22                                                 Time: 9:00 a.m.
23                                                 Place: Courtroom 1575
                                                          255 E. Temple St.
24                                                        Los Angeles, CA 90012

25

26             TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
27   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND OTHER PARTIES IN
28   INTEREST:

                                                1
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 1             PLEASE TAKE NOTICE that on November 23, 2022 at 9:00 a.m., before the Honorable

 2   Sandra R. Klein, United States Bankruptcy Judge, in Courtroom 1575, located at 255 East Temple

 3   Street, Los Angeles, California, 424 Group, Inc., the debtor and debtor in possession herein

 4   (“Debtor”), will and does hereby move the Court for an Order approving the Debtor's Motion for

 5   Order Approving the Sale of the Debtor’s Claims Free and Clear of Liens, Claims, Interests, and

 6   Encumbrances Pursuant to 11 U.S.C. § 363(b)(1) and (f)(2) (“Motion”).

 7             This Motion is brought pursuant to 11 U.S.C. §§ 363 (b)(1) and (f)(2) on the grounds that

 8   the Debtor has determined that it is in the best interest of the estate and its creditors to seek a private

 9   sale (“Sale”) of its claims, causes of action and defenses against 380 Group, LLC and all other

10   claims held by the Debtor (collectively, the “Claims”) as more particularly described in “Exhibit 1”
11   to the Claim Purchase Agreement (“CPA”) which is attached as Exhibit 1 to the Declaration of
12   Katrina Sirdofsky (“Sirdofsky Declaration”). The Sale excludes claims listed in the Debtor’s
13   Schedules of Assets and Liabilities, as amended or may be amended, and interests, that (a) any
14   affiliate of the Debtor may have in or against the Debtor or the Debtor’s bankruptcy estate; (b)
15   Katrina Sirdofsky (“Sirdofsky”), the Katrina Sirdofsky 1998 Family Trust/U/D/T/ May 7, 1998, or
16   424 Group Wholesale, Inc., may have in or against the Debtor, the Debtor’s bankruptcy estate or
17   each other; and (c) that Sirdofsky may have against Guillermo Andrade (“Andrade”) and vice versa,
18   including but not limited to claims arising under or related to the Marital Settlement Agreement
19   between Sirdofsky and Andrade. The CPA also specifically provides that nothing stated in the CPA
20   precludes the Debtor from using Estate’s affirmative claims and defenses to object to any proof of
21   claims filed in the Chapter 11 case.
22             The proposed buyer of the Claims, Lightwork Worldwide LLC (“Buyer”), is the party that
23   previously acquired substantially all of the Debtor’s assets pursuant to that certain Order Approving
24   the Sale of Substantially All Assets of the Estate Free and Clear of Liens, Claims, Interests and
25   Encumbrances Pursuant to 11 U.S.C. §363(b)(1) and (f)(2) entered on June 30, 2022 (“Primary
26   Asset Sale”, Doc. No. 112).

27             The Debtor and Buyer executed the CPA dated as of October 10, 2022, providing for the

28   sale and acquisition of the Claims for the sum of Four Hundred Twenty-Five Thousand Dollars

                                                 2
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 1   ($425,000.00) cash (the “Purchase Price”), free and clear of all liens, claims, encumbrances and

 2   other interests pursuant to Sections 105, 363, and 365 of the Bankruptcy Code. The bar date in this

 3   case has passed and the Debtor has no secured creditors.

 4             The Motion is based upon the Notice of Motion filed concurrently herewith, the Notice of

 5   Sale of Estate Property filed with the Clerk of the Court, the Memorandum of Points and

 6   Authorities and Declarations of Katrina Sirdofsky, Daniel J. Weintraub and Chiouyi Chang and all

 7   pleadings, papers and records on file with the Court and other evidence and argument, oral or

 8   documentary, as may be presented to the Court at the time of the hearing on the within Motion.

 9             WHEREFORE, the Debtor respectfully requests that the Court enter an order in form and

10   substance substantially similar to the proposed Order attached as “Exhibit 2” to the Claim Purchase

11   Agreement:

12             1.     Approving this Motion and authorizing the sale of the Claims as defined herein to

13                    Buyer pursuant to the terms of that certain Claim Purchase Agreement attached as

14                    Exhibit 1 to the Declaration of Katrina Sirdofsky.

15             2.     Authorizing, with appropriate findings, the sale of the Claims to the Buyer, free and

16                    clear of all claims, liens, security interests, charges, encumbrances, adverse interests

17                    of any kind and all other liabilities, including, without limitation, successor liabilities

18                    pursuant to Section 363 of the Bankruptcy Code;

19             3.     Finding that the Buyer has acted in good faith and is entitled to the protections of 11

20                    U.S.C. |363(m);
21             4.     With appropriate findings of the Court regarding the adequacy of notice to creditors

22                    and parties in interest relating to the within Motion;

23             5.     Waiving the fourteen (14) day stay of order provided in Rules 6004(h) and 6006(d)

24                    of the Federal Rules of Bankruptcy Procedure; and

25   //

26   //

27   //

28   //

                                                 3
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 1             6.   Granting such other and further relief as is requested and as the Court deems just and

 2                  appropriate.

 3

 4   Dated: October 21, 2022                             WEINTRAUB & SELTH, APC
 5

 6                                                    By /s/ Daniel J. Weintraub
                                                         Daniel J. Weintraub
 7                                                       James R. Selth
                                                         Attorneys for Debtor and
 8                                                       Debtor-in-Possession,
                                                         424 GROUP, INC.
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2                                                         I.

 3                                               INTRODUCTION

 4             Debtor hereby moves this Court for an order authorizing the Debtor to sell its remaining

 5   assets to Lightwork Worldwide LLC (“Buyer”), the buyer of the Debtor’s assets under the Order

 6   Approving the Sale of Substantially All Assets of the Estate Free and Clear of Liens, Claims,

 7   Interests and Encumbrances Pursuant to 11 U.S.C. §363(b)(1) and (f)(2), entered on June 30, 2022

 8   (“Primary Asset Sale”, Doc. No. 112)., in accordance with the Claim Purchase Agreement (“CPA”)

 9   attached to the Declaration of Katrina Sirdofsky as Exhibit 1.

10             The assets being sold are generally described as the claims, causes of action and defenses

11   against 380 Group, LLC and other claims held by the Debtor (collectively, the “Claims”) and are

12   particularly described in “Exhibit 1” to the CPA.1 The Claims do not include any claims listed in
13   the Debtor’s Schedules of Assets and Liabilities, as amended or may be amended, and interests that:
14   (a) any affiliate of the Debtor may have in or against the Debtor or the Debtor’s bankruptcy estate;
15   (b) Katrina Sirdofsky (“Ms. Sirdofsky”), the Katrina Sirdofsky 1998 Family Trust/U/D/T/ May 7,
16   1998, or 424 Group Wholesale, Inc., may have in or against the Debtor, the Debtor’s bankruptcy
17   estate or each other; and (c) that Sirdofsky may have against Guillermo Andrade (“Mr. Andrade”)
18   and vice versa, including but not limited to claims arising under or related to the Marital Settlement
19   Agreement between Ms. Sirdofsky and Mr. Andrade, all of which are specifically excluded from
20   the Sale. The CPA also specifically provides that nothing stated in the CPA precludes the Debtor
21   from using Estate’s affirmative claims and defenses to object to any proof of claims filed in the
22   Chapter 11 case.
23             The Debtor has been marketing the Claims for sale both before and since the Primary Asset
24   Sale and has engaged in negotiations with two potential buyers. Only Buyer has submitted a
25   written offer to purchase the Assets. Given that Buyer previously purchased substantially all of the
26   assets comprising the Debtor’s business operations and that the claims being sold relate to the
27
     1
28     In the event of an inconsistency between the descriptions set forth in this Motion and the terms of
     the CPA, the CPA shall govern.
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 1   Debtor’s business, Buyer is the natural buyer for the Assets.

 2             The purchase price of Four Hundred Twenty-Five Thousand Dollars cash ($425,000)

 3   represents the highest and best written offer received by the Debtor and, pursuant to the Debtor’s

 4   Second Amended Plan of Reorganization for Small Business Under Chapter 11 [Doc. No. 176] puts

 5   the estate in a position to pay all estimated administrative and priority claims; and pay 100% of all

 6   non-insider allowed unsecured claims. Buyer has executed the CPA and made the deposit called

 7   for by the CPA to counsel’s trust account.

 8

 9                                                      II.

10                                        FACTUAL BACKGROUND

11             A.        General Case Background
12             On December 23, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for relief
13   under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Central
14   District of California, Los Angeles Division (the “Court”). The Debtor continues to operate its
15   business and manage its affairs as a debtor in possession in pursuant to sections 1107(a) and 1108
16   of the Bankruptcy Code. The Debtor elected to proceed under Subchapter V (Small Business
17   Reorganization) of the Bankruptcy Code and qualifies as a debtor under Subchapter V given that it
18   has secured and unsecured non-contingent and liquidated debts of less than $7,500,000.
19             B.        Brief History of the Debtor and Its Operations
20             The Debtor is a California corporation formed in 2009 and is owned by Katrina Sirdofsky

21   (51%) and Guillermo Andrade (49%). As noted in Section II(E) below, a settlement was reached

22   between the Debtor, 424 Group Wholesale, Inc., Ms. Sirdofsky and Guillermo Andrade (the

23   “Global Settlement”), which has been approved by the Court. Pursuant to the Global Settlement,

24   Mr. Andrade assigned to Ms. Sirdofsky his equity interests in the Debtor. Ms. Sirdofsky is the
25   Debtor’s President and CEO. Mr. Andrade resigned his position with the company in December
26   2021. Prior to the sale of its assets as set forth below, the Debtor licensed its clothing designs
27   throughout the world and operated a brick and mortar retail store and on-line shopping website
28   https://shop.fourtwofouronfairfax.com.

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 1             The Debtor sought bankruptcy relief after the Covid-19 pandemic severely impacted its

 2   business affairs and it fell behind with several vendors and the landlord for its Los Angeles retail

 3   store. The Chapter 11 filing prevented the foreclosure of some of the Debtor’s most valuable

 4   intellectual property, specifically a 90% interest in Italian trademark number 302017000022094 and

 5   European Union trademarks numbers 017961030 and 016411142 which were owned by the Debtor.

 6   These trademarks and the Debtor’s other intellectual property were the most valuable assets of the

 7   Chapter 11 bankruptcy estate.

 8             C.        The Sale of the Debtor’s Assets

 9             After negotiating with several interested purchasers, the Debtor filed its Motion for Order

10   Approving Bidding Procedures on May 11, 2022 [Doc. No. 65], which was granted by Order

11   entered June 2, 2022 [Doc. No. 92]. On June 1, 2022, the Debtor filed its Motion for Order

12   Approving the Sale of Substantially All Assets of the Estate Free and Clear of Liens, Claims,

13   Interests and Encumbrances, etc. (“Sale Motion”, Doc. No. 85). On June 30, 2022, the Court

14   entered its Order approving the Sale Motion (“Sale Order”, Doc. No. 112), pursuant to which the
15   assets identified in the Asset Purchase Agreement (“APA”) were sold to Lightwork Worldwide
16   LLC (“Buyer”) following an auction conducted by the Debtor’s counsel. The sale to Buyer
17   included only the assets listed in Exhibit 1 of the APA and did not include the Debtor’s cash,
18   avoiding power claims and certain other claims and causes of action. Among these claims were the
19   Debtor’s claim against 380 Group, LLC (“380 Group”) arising from and related to a letter of intent
20   dated as of July 1, 2020, in which the Debtor entered in an agreement to license its intellectual

21   property to 380 Group. At the Closing, Buyer paid the Debtor the sum of $1,600,000 in cash. See

22   the Notice of Sale With Copy of Asset Purchase Agreement filed June 24, 2022 [Doc. No. 108].

23             D.        The Status of Debtor’s Subchapter V Plan

24             To comply with the Subchapter V Plan deadline of 11 U.S.C. § 1189(b), the Debtor filed its
25   original Subchapter V Plan of Reorganization on March 22, 2022 [Doc. No. 36]. At that time, the
26   sale of the Debtor’s assets was still in its preliminary stages involving discussions with interested
27   buyers.
28   //

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 1             The Debtor recently filed its Second Amended Subchapter V Plan of Reorganization [Doc.

 2   No. 176]. A hearing on confirmation of the Debtor’s Plan is scheduled for December 7, 2022.

 3   As the Debtor has sold substantially all of its assets, it is a liquidating Plan. The Debtor has

 4   investigated and will object to those claims which it believes are not warranted.

 5             E.        The Debtor’s Litigation With Andrade

 6             The Debtor and 424 Wholesale, Inc. (the “Companies”) asserted claims against Mr.

 7   Andrade relating to, among other things, his employment with the Companies, his activities as a co-

 8   owner and officer of the Companies, and activities as an independent designer or consultant during

 9   the time that the Companies operated the 424 Group business. On December 21, 2021, the

10   Companies filed a Complaint in the Marin County Superior Court styled 424 Group, Inc. d/b/a

11   FourTwoFour on Fairfax; 424 Group Wholesale, Inc. v. Guillermo Andrade aka Mynor Guillermo
12   Andrade Ortega, an individual; and Does 1 through 10, inclusive, Case No. CIV 2104249, alleging
13   claims of breach of employment contract; breach of fiduciary duty; violation of unfair competition
14   law; embezzlement; misappropriation of trade secrets; fraud; intentional misrepresentation; and
15   temporary restraining order, preliminary and permanent injunctions.
16             The Debtor, 424 Group Wholesale, Inc., Ms. Sirdofsky and Mr. Andrade reached a
17   settlement (the “Global Settlement”) of their disputes and on October 11, 2022, the Court entered
18   its Order Granting the Debtor’s Motion to Approve Compromise of Controversy Pursuant to Fed.
19   R. Bankr. P. 9019 Between the Chapter 11 Debtor and Debtor in Possession and Guillermo
20   Andrade [Doc. No. 183]. However, as noted in Section 5(B) below, the Global Settlement becomes
21   effective only upon the entry of the Order approving the Global Settlement and an Order approving
22   the Debtor’s sale of the Claims which sale is the subject of this Motion.
23

24                                                     III.
25                                            PROPOSED SALE
26             A.     Purchase Price

27             The purchase price (the “Purchase Price”) for the Claims is as follows:

28                    Four hundred, twenty-five thousand dollars ($425,000) in cash, payable as follows:

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 1             i.     Deposit: $100,000.00 paid upon execution of this Agreement, which will be
                      applied to the Purchase Price at closing (the “Deposit”). The Deposit is non-
 2                    refundable except in the event that the Agreement and Sale are terminated as
                      a result of Seller’s breach, in each which event, the Deposit shall be returned
 3
                      to Buyer. Seller acknowledges receipt of the Deposit from Buyer. The
 4                    Deposit shall not be subject to any lien, attachment, trustee process, or any
                      other judicial process of any creditor of Seller or Buyer.
 5             ii.    Balance of Purchase Price. The balance of the Purchase Price, minus the
                      amount of the Deposit, shall be sent by cashier’s check or a wire transfer to
 6                    the attorney-client trust account of Weintraub & Selth, APC, one business
 7                    day prior to the Closing Date.

 8             The sale is to be a private sale free and clear of all liens, claims, encumbrances and other

 9   interests pursuant to sections 105, 363, and 365 of the Bankruptcy Code, with liens to attach to the

10   proceeds in the same order and with the same validity and extent of the pre-petition liens in such

11   Claims. The Buyer’s offer is for a private sale with no overbids.

12             Buyer has wired a Deposit of $100,000, to the attorney client trust account of Weintraub &

13   Selth, APC. If the transaction closes as contemplated, the Deposit shall be credited to the Purchase

14   Price at Closing. If the Buyer fails to fulfill its obligations herein, the Deposit made by Buyer shall

15   be forfeit and retained by the Debtor’s estate.

16             B.     The Assets Sold and the Closing

17             The following is a summary of the proposed material terms of the sale of the Property to

18   Buyer pursuant to the CPA. To the extent of any inconsistency, the CPA controls:

19             1.     ASSETS. Buyer shall purchase the Debtor’s interest in the Claims described in

20   “Exhibit 1” of the CPA as:

21                    “any claim, cause of action, or right to recovery by the Debtors or its
                      Affiliates solely to the extent related or pertaining to the Debtor or its
22                    business, including without limitation, from any Legal Proceeding,
                      including but not limited to the right to monetary benefits, or benefits
23                    that may be monetized, from settlements, judgments, or any other form
24                    of resolution of any Legal Proceeding or the operative facts alleged in
                      any Legal Proceeding. Further, the Assets includes all defenses, rights
25                    of set-off, counter-claims, causes of action, and litigation rights existing
                      as of the Effective Time in favor of Seller against third parties arising
26                    out of and relating to the Assets, whether choate or inchoate, known or
                      unknown, contingent or non-contingent. Notwithstanding the
27                    foregoing, the Assets shall not include any interests (including equity
28                    interests), claims, demands, rights, causes or causes of action, defenses,
                      liens, and cross claims, including, without limitation, any claims

                                                  9
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 1                    scheduled on the Debtor’s Schedules of Assets and Liabilities, as
                      amended or may be amended (collectively, the “Preserved Rights”) that
 2                    (a) any Affiliate may have in or against the Debtor or the Debtor’s
                      bankruptcy estate; (b) Katrina Sirdofsky (“Sirdofsky”), the Katrina
 3
                      Sirdofsky 1998 Family Trust/U/D/T/ May 7, 1998, or 424 Group
 4                    Wholesale, Inc., may have in or against the Debtor, the Debtor’s
                      bankruptcy estate or each other; and (c) that Sirdofsky may have
 5                    against Guillermo Andrade and vice versa, including but not limited to
                      claims arising under or related to the Marital Settlement Agreement
 6                    between Sirdofsky and Andrade. Additionally, nothing herein shall
                      preclude the Debtor, Sirdofsky, 424 Group Wholesale, Inc. or an
 7
                      Affiliate from defensively objecting to any proofs of claim filed in the
 8                    Chapter 11 case, including asserting in such claim objection that a
                      creditor may have committed fraud upon or violated the law with
 9                    respect to the Debtor and that such conduct should be an offset to,
                      reduce or eliminate the bankruptcy estate’s liability to such creditor in
10                    respect of its claims. In no event shall the Debtor seek an award of
11                    damages or affirmative relief against such creditor.

12   (collectively, the “Claims”).

13             2.     CLOSING. Subject to the terms and conditions of the CPA, the closing of the sale

14   of the Claims contemplated by the CPA (the “Closing”) shall take place on or before the fifth (5th)

15   business day following the entry of an order of the Bankruptcy Court approving the Debtor’s

16   Motion for an Order Approving the Claim Purchase Agreement confirming the sale of the Claims to

17   Buyer.

18

19                                                     IV.

20                            THE PROPOSED SALE SHOULD BE APPROVED

21                      PURSUANT TO 11 U.S.C. §363(b)(1) AND 11 U.S.C. §363(f)

22             A review of the applicable cases interpreting Sections 363(b)(1) and (f) of the Bankruptcy

23   Code and, in light of the aforementioned facts, indicates that a sound basis exists for Court

24   approval of this sale.

25             A.     The Sale Should be Approved Under Section 363(b)(1)

26             Section 363(b)(1) of the Bankruptcy Code empowers a debtor in possession to “sell . . .

27   other than in the ordinary course of business, property of the estate.” 11 U.S.C. §363(b)(1). The

28   authority to sell assets conferred upon a debtor by Section 363(b)(1) “include[s] a sale of


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 1   substantially all the assets of an estate.” Otto Preminger Films, Ltd. v. Qintex Entm't., Inc. (In re

 2   Qintex Entm't, Inc.), 950 F.2d 1492, 1495 (9th Cir. 1991); see also, In re Anchor Exploration Co.,

 3   30 B.R. 802, 808 (Bankr. N.D. Okla. 1983) (court should have wide latitude to approve sale under

 4   Section 363(b)). A bankruptcy court's power to authorize a sale under Section 363(b) is to be

 5   exercised at the court's discretion. In re WPRV-TV, 983 F.2d 336, 340 (1st Cir. 1993),

 6   New Haven Radio, Inc. v. Meister (In re Martin-Trigona), 760 F.2d 1334, 1346 (2d Cir. 1985),

 7   Committee of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1069

 8   (2d Cir. 1983); Stephens Indus., Inc. v. McClung, 789 F.2d 386, 390-91 (6th Cir. 1986).

 9             In the Ninth Circuit, “cause” exists for authorizing a sale of estate assets if it is in the best

10   interest of the estate and a business justification exists for authorizing the sale. In re Huntington,

11   Ltd., 654 F.2d 578 (9th Cir. 1981); In re Walter, 83 B.R. 14, 19-20 (9th Cir. B.A.P. 1988).
12             In evaluating the propriety of a sale of property of the estate, courts have evaluated
13   whether: (1) there be a sound business reason for the sale; (2) accurate and reasonable notice of the
14   sale be given to interested parties; (3) the price to be paid is adequate i.e., fair and reasonable; and
15   (4) the parties to the sale have acted in good faith. Titusville Country Club v. Pennbank (In re
16   Titusville Country Club), 128 B.R. 396, 399 (Bankr. W.D. Pa. 1991); see also, In re Walter, 83
17   B.R. at 19-20.
18             An examination of each of the above four factors shows that the sale as proposed herein
19   should be approved.
20             1. Sound Business Justification.
21             The Ninth Circuit Bankruptcy Appellate Panel in Walter v. Sunwest Bank (In re Walter),
22   83 B.R. 14,19 (9th Cir. BAP 1988) adopted a flexible case-by-case test to determine whether the
23   business purpose for a proposed sale justifies disposition of property of the estate under
24   Bankruptcy Code Section 363(b) as follows:
25                 “Whether the proffered business justification is sufficient depends on the
                   case. As the Second Circuit held in Lionel, the bankruptcy judge should
26                 consider all salient factors pertaining to the proceeding and, accordingly,
                   act to further the diverse interests of the debtor, creditors and equity
27
                   holders, alike. He might, for example, look to such relevant factors as
28                 the proportionate value of the asset to the estate as a whole, the amount
                   of elapsed time since the filing, the likelihood that a plan of
                                                  11
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 1                 reorganization will be proposed and confirmed in the near future, the
                   effect of the proposed disposition on future plans of reorganization, the
 2                 proceeds to be obtained from the disposition vis-a-vis any appraisals of
                   the property, which of the alternatives of use, sale or lease the proposal
 3
                   envisions and, most importantly perhaps, whether the asset is increasing
 4                 or decreasing in value. This list is not intended to be exclusive, but
                   merely to provide guidance to the bankruptcy judge.”
 5

 6   In re Walter, 83 B.R. at 19-20, citing In re Continental Air Lines, Inc. 780 F.2d 1223, 1226 (5th
 7   Cir. 1986).
 8             The facts of this case support the Debtor’s business decision to consummate a sale of the
 9   Claims and is in the best interest of the Debtor’s creditors. The Debtor has ceased operations and
10   sold substantially all its assets to Buyer under the Primary Asset Sale. The Claims and cash on
11   hand are its only remaining assets. It makes more sense to sell the Claims for a guaranteed cash
12   payment than incurring the risk, delay and administrative expenses which would be involved in
13   litigating them. Perhaps more importantly, the Sale will provide sufficient cash for the Estate to be
14   in a position to pay all estimated administrative and priority claims and all non-insider allowed
15   unsecured claims in full. Thus, the Debtor submits that the sale is justified by a sound business
16   purpose.
17             2. Accurate and Reasonable Notice.
18             Pursuant to §363(b)(1), a debtor in possession must give notice of any sale of property of
19   the estate. Transactions not in the ordinary course of business are generally governed by Federal
20   Rule of Bankruptcy Procedure 6004. Rule 6004(a) refers, in turn, to Rule 2002(a)(2), which
21   requires a twenty-one (21) day notice period for any “proposed use, sale, or lease of property of the
22   estate other than in the ordinary course of business, unless the court for cause shown, shortens the
23   time…” FRBP 2002(a).
24             Concurrently herewith, the Debtor is mailing notice to all creditors and parties in interest of
25   the proposed sale. Thus, the Debtor has satisfied the notice requirements.
26             3. Fair and Reasonable Price.
27             As set forth in the attached Declaration of Daniel J. Weintraub, Mr. Weintraub contacted
28   all parties who he thought might be interested in purchasing the Claims, inquiring as to their

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 1   interest in purchasing the Claims. One other party expressed interest in bidding and Mr.

 2   Weintraub provided that person with access to a Drop Box containing several documents related to

 3   the Debtor’s claims against 380 Group, LLC. Mr. Weintraub also offered to provide any and all

 4   other information the potential buyer might request. That party ultimately declined to submit an

 5   offer.

 6             Mr. Weintraub was responsible for negotiating the terms of sale to Buyer. The negotiations

 7   included several calls and email with Buyer’s counsel, the negotiation of several drafts of the

 8   Claim Purchase Agreement (“CPA”) and one meeting with Buyer’s principal and its counsel. Mr.

 9   Weintraub consistently sought to obtain the highest and best price possible for the Claims and the

10   offer from Buyer is the highest and best price he was able to obtain for the Claims. Finally, the

11   Buyer’s offer was conditioned upon the Sale being a private sale, and as the Debtor and its counsel

12   were not aware of any other possible interested purchase of the Claims. Additionally, Buyer

13   explained that there could be issues related to the further assurances clause in the initial purchase

14   agreement if the Claims were sold to a different buyer. Due to these reasons and the need to close

15   the Sale promptly and without litigation, the Debtor agreed to this condition.

16             4. Good Faith.

17             Finally, the Sale is proposed in good faith. The “good faith” requirement focuses
18   principally on the element of special treatment of a debtor’s insiders in the sale transaction.
19   Industrial Valley Refrig. And Air Cond. Supplies, Inc, 77 B.R. 15, 21 (Bankr. E.D. Pa. 1987).
20   Here, the Buyer is not an insider or affiliate of the Debtor, and the negotiations between the Buyer

21   and Debtor regarding the proposed Sale were at arms-length while both parties were represented

22   by independent counsel and no collusion was involved. The Debtor and Ms. Sirdofsky who is the

23   Debtor’s only officer and director do not have any other relationship with Buyer. The CPA was

24   negotiated with the goal of maximizing recovery to creditors and interest holders.

25             B.     The Motion Should Be Granted Under 11 U.S.C. Section 363(f)

26             Section 363(f) of the Bankruptcy Code describes the circumstances under which a debtor in

27   possession may sell property of the estate free and clear of any interest of third parties in such

28   property. Section 363(f) provides, in pertinent part:

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 1             The trustee may sell property under subsection (b) or (c) of this section free and
               clear of any interest in such property of an entity other than the estate, only if—
 2
               (1) applicable nonbankruptcy law permits sale of such property free and clear of such
 3
                      interest;
 4             (2) such entity consents;
               (3) such interest is a lien and the price at which such property is to be sold is greater than
 5                    the aggregate value of all liens on such property;
 6             (4) such interest is in bona fide dispute; or
               (5) such entity could be compelled, in a legal or equitable proceeding, to accept a money
 7
                      satisfaction of such interest.
 8
     11 U.S.C. §363(f).
 9
               Section 363(f) of the Bankruptcy Code was drafted in the disjunctive. Thus, a debtor need
10
     only meet the provisions of one of the five subsections of section 363(f) in order for a sale of
11
     property to be free and clear of all liens, claims and interests.
12
               Debtor’s only secured creditor at the time the bankruptcy case was filed was a lien under
13
     Italian law in favor of Twentyfourseven s.r.l., in the approximate amount of €57,090.37, which
14
     was paid in full pursuant to the Primary Asset Sale. The bar date has passed and the Debtor has no
15
     secured creditors.
16
               All creditors will receive notice of the proposed sale and will have an opportunity to
17
     respond to this Motion. Moreover, if any other individual or entity believes that it has a claim or
18
     interest in the Assets, it will have an opportunity to assert such claim or interest in response to this
19
     Motion. Therefore, based upon the authority set forth above, the Debtor requests that the Court
20
     approve the Sale free and clear of all liens, claims, encumbrances and/or interests of any parties
21
     who may assert such liens, claims, encumbrances and/or interests against the Assets and who do
22
     not file a timely objection to the proposed sale by deeming all such parties to have consented to the
23
     proposed sale pursuant to Section 363(f)(2) of the Code.
24
     //
25
     //
26
     //
27
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28

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 1                                                           V.

 2             THE SALE IS IN THE BEST INTERESTS OF THE ESTATE AND THERE ARE

 3             COMPLLING REASONS FOR AN IMMEDIATE PRIVATE SALE TO BUYER

 4              A.     The Sale as an Exercise of Business Judgment

 5              The Debtor has sound business purposes and justifications for entering into the CPA given

 6   that: (a) consummation of the Sale, along with the proposed potential subordination of the

 7   unsecured claims of Katrina Sirdofsky and 424 Group Wholesale, Inc., on the conditions set forth in

 8   “Exhibit 6” to the Debtor’s Second Amended Plan of Reorganization [Doc. No. 176] are projected

 9   to yield a one hundred percent (100%) distribution to allowed non-insider general unsecured

10   claims; and (b) the Sale avoids the costs, risks and delays associated with litigating the Claims

11   being sold to Buyer.

12              B.     Compelling Reasons for an Immediate Private Sale

13              As noted in Section 2(E) above, the estate is the Plaintiff is a lawsuit in the Marin County
14   Superior Court against Guillermo Andrade and has also commenced discovery under Bankruptcy
15   Rule 2004 against 380 Group, LLC and Guillermo Andrade. The Debtor, 424 Group Wholesale,
16   Inc., and Katrina Sirdofsky and Andrade reached a global settlement of their disputes and the
17   Court entered its Order Granting the Debtor’s Motion to Approve Compromise of Controversy
18   Pursuant to Fed. R. Bankr. P. 9019 Between the Chapter 11 Debtor and Debtor in Possession and
19   Guillermo Andrade [Doc. No. 183] on October 11, 2022. The Settlement Agreement becomes
20   effective only upon the entry of final, non-appealable orders of the Bankruptcy Court approving
21   the Settlement Agreement and approving the Debtor’s sale of the 380 Claims. While the
22   Settlement Agreement has been approved by the Court, the sale of the 380 Claims must also be
23   approved for the settlement with Mr. Andrade to become effective.
24              Also, as set forth above, the consummation of this Sale will satisfy one condition precedent
25   to the subordination of the insider claims of Ms. Sirdofsky and 424 Group Wholesale, Inc.,
26   (Condition No. 1 - that the Debtor consummate the sale of the 380 claims for at least $425,000
27   prior to the Plan confirmation hearing), and very likely a second condition (Condition No. 4 – that
28   a minimum of $1,400,000 be available for distribution under the Plan after payment of all allowed

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 1   secured, priority and administrative claims). The other two conditions to subordination are that the

 2   Plan be confirmed by December 15, 2022, and that the Debtor strictly comply with Section 4.01 of

 3   the Plan which pertains to the making of the initial and final distributions to general unsecured

 4   creditors under the Plan. Prompt approval of the Sale is therefore crucial as it greatly assists the

 5   Debtor in meeting the conditions of the Plan that trigger subordination of the insider claims, which

 6   in turn will result in the payment of a dividend of one hundred percent (100%) to allowed non-

 7   insider general unsecured creditors.

 8             The Debtor does not wish to incur unnecessary administrative expense claims of

 9   professionals. The prompt closing of the Sale will allow the Estate to stop incurring significant

10   additional administrative expenses which would necessarily and immediately result from the

11   Debtor continuing its pending litigation and the immediate closing of the Sale will result in the

12   liquidation of the estate’s sole remaining assets and allow the prompt and complete administration

13   of the Bankruptcy Case.

14             Private sales are expressly contemplated by the bankruptcy rules. See Fed. R. Bankr. P.

15   6004(f)(1), which provides that “(a)ll sales not in the ordinary course of business may be by

16   private sale or by public auction.” It is within the trustee’s discretion whether a private sale or

17   public auction is appropriate. In re Alisa Partnership, 15 B.R. 802 (Bankr. D. Del., 1981). See

18   also In re 160 Royal Palm, LLC, 600 B.R. 119 (S.D. Fla. 2019), holding that, “[t]he use of a
19   private sale, to take advantage of the offer made by [Buyer], was within the Debtor's business

20   judgment, and the Court sees no reason to supplant its judgment for the business judgment

21   determination of the Debtor.”

22             While the Debtor could seek to establish bidding procedures for a public sale, given the

23   lack of any other interested purchasers for the Claims, Buyer’s condition of a private sale and the

24   need to approve the Sale before the Plan Confirmation deadline, the Debtor believes that the offer

25   is fair reasonable, and submits that there is a sound business justification for selling the Claims for

26   $425,000 to Buyer.

27   //

28   //

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 1                                                     VI.

 2               THE COURT HAS THE DISCRETION TO AND SHOULD WAIVE THE

 3             FOURTEEN-DAY PERIOD FOR THE EFFECTIVENESS OF A SALE ORDER

 4             Rule 6004(h) of the Federal Rules of Bankruptcy Procedure provides: “An order

 5   authorizing the use, sale, or lease of property other than cash collateral is stayed until the

 6   expiration of 14 days after entry of the order, unless the court orders otherwise.” Fed. R. Bankr. P.

 7   6004(h).

 8             The court can eliminate or reduce the 14-day stay period upon a showing that there is a

 9   sufficient business need to necessitate an immediate closing within the 14-day period and the

10   interests of any objecting party, taking into account the likelihood of success on appeal, are

11   sufficiently protected. Collier on Bankruptcy ¶ 6004.11. In In re Perry Hollow Mgmt. Co., Inc.,

12   297 F.3d 34, 41 (1st Cir. 2002), the court affirmed the bankruptcy court's decision to waive the
13   waiting period of Rule 6004(g) (now (h)). The appellate court found that the bankruptcy court
14   acted properly within its discretion to waive the stay where the evidence at the hearing established
15   that the sale price was reasonable, the buyer was ready to complete the sale the next day and there
16   would be a charge for storage if there were a delay.
17             Similarly, in Hower v. Molding Sys. Eng'g Corp., 445 F.3d 935, 938 (7th Cir. 2006) , the
18   court affirmed the elimination of the stay where the debtor was down to its last five dollars, had
19   dozens of employees who needed to be paid and a purchaser who made $250,000 available to keep
20   operations going. In In re Nature Leisure Times, LLC, 59 C.B.C.2d 121, 2007 Bankr. LEXIS
21   4333 (Bankr. E.D. Tex. Dec. 19, 2007), the court noted that it was appropriate to eliminate the
22   waiting period under Rule 6004(h) because the estate had negative cash flow and the trustee should
23   not be required to continue to operate the estate with third party moneys.
24             Similarly, here the need to proceed sooner with the sale outweighs any potential objecting
25   party's interests. As set forth above, the Sale needs to be approved before the Plan Confirmation
26   deadline in order to meet the condition for subordination of the insider claims. Accordingly, the
27   Debtor request that the Court order that the sale may be effectuated immediately upon entry of the
28   order.

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 1                                                       VII.

 2                                                CONCLUSION

 3             WHEREFORE, the Debtor respectfully requests that the Court enter an order in form and

 4   substance similar to the proposed Order attached as Exhibit 2 to the Claim Purchase Agreement:

 5             1.      Approving this Motion and authorizing the sale of the Claims as defined herein to

 6                     Buyer pursuant to the terms of that certain Claim Purchase Agreement attached as

 7                     Exhibit 1 to the Declaration of Katrina Sirdofsky.

 8             2.      Authorizing, with appropriate findings, the sale of the Claims to the Buyer, free and

 9                     clear of all claims, liens, security interests, charges, encumbrances, adverse interests

10                     of any kind and all other liabilities, including, without limitation, successor

11                     liabilities pursuant to Section 363 of the Bankruptcy Code;

12             3.      Finding that the Buyer has acted in good faith and is entitled to the protections of 11

13                     U.S.C. |363(m);
14             4.      With appropriate findings of the Court regarding the adequacy of notice to creditors

15                     and parties in interest relating to the within Motion;

16             5.      Waiving the fourteen (14) day stay of order provided in Rules 6004(h) and 6006(d)

17                     of the Federal Rules of Bankruptcy Procedure; and

18             6. Granting such other and further relief as is requested and as the Court deems just and

19                  appropriate.

20

21   Dated: October 24, 2022                                    WEINTRAUB & SELTH, APC

22
                                                          By /s/ Daniel J. Weintraub
23                                                           Daniel J. Weintraub
24                                                           James R. Selth
                                                             Attorneys for Debtor and
25                                                           Debtor-in-Possession,
                                                             424 GROUP, INC.
26

27

28

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 1                               DECLARATION OF KATRINA SIRDOFSKY

 2             I, Katrina Sirdofsky, declare as follows:

 3             1.      I am an individual over the age of eighteen and am the President and CEO of 424

 4   Group, Inc., the debtor and debtor in possession herein (“Debtor”). Except as otherwise stated

 5   herein, each of the facts contained in this declaration is based on my personal knowledge and my

 6   review of the books and records of the Debtor kept in the ordinary course. If called as a witness, I

 7   could and would competently testify thereto.

 8             2.      On December 23, 2021 (the “Petition Date”), the Debtor filed a voluntary petition

 9   for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

10   Central District of California, Los Angeles Division (the “Court”). The Debtor continues to operate

11   its business and manage its affairs as a debtor in possession in pursuant to sections 1107(a) and
12   1108 of the Bankruptcy Code.
13             3.      The Debtor is a California corporation formed in 2009 and is owned by myself
14   (51%) and Guillermo Andrade (49%). I am the Debtor’s President and CEO. Mr. Andrade
15   resigned his position with the company in December 2021. Prior to the sale of its assets as set forth
16   below, the Debtor licensed its clothing designs throughout the world and operated a brick and
17   mortar retail store and on-line shopping website https://shop.fourtwofouronfairfax.com.
18             4.      Debtor sought bankruptcy relief after the Covid-19 pandemic severely impacted its
19   business affairs and it fell behind with several vendors and the landlord for its Los Angeles retail
20   store. The Chapter 11 filing prevented the foreclosure of some of Debtor’s most valuable
21   intellectual property, specifically a 90% interest in Italian trademark number 302017000022094 and
22   European Union trademarks numbers 017961030 and 016411142 which were owned by Debtor.
23   These trademarks and Debtor’s other intellectual property were the most valuable assets of the
24   Chapter 11 bankruptcy estate.
25             5.      After negotiating with several interested purchasers, Debtor filed its Motion for
26   Order Approving Bidding Procedures on May 11, 2022, which was granted by Order entered June
27   2, 2022. On June 1, 2022, Debtor filed its Motion for Order Approving the Sale of Substantially
28   All Assets of the Estate Free and Clear of Liens, Claims, Interests and Encumbrances, etc. (“Sale

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 1   Motion). On June 30, 2022, the Court entered its Order approving the Sale Motion, pursuant to

 2   which the assets identified in the Asset Purchase Agreement (“APA”) were sold to Lightwork

 3   Worldwide LLC (“Buyer”) following an auction conducted by Debtor’s counsel (“Sale Order”).

 4   The sale to Buyer included only the assets listed in Exhibit 1 of the APA and did not include

 5   Debtor’s cash, avoiding power claims and other claims and causes of action. One of these claims

 6   was Debtor’s claim against 380 Group, LLC (“380 Group”) arising from a letter of intent dated as

 7   of July 1, 2020, in which the Debtor entered in an agreement to license its intellectual property to

 8   380 Group. At the Closing, Buyer paid Debtor the sum of $1,600,000 in cash.

 9             6.   To comply with the Subchapter V Plan deadline of 11 U.S.C. § 1189(b), Debtor filed

10   its original Subchapter V Plan of Reorganization on March 22, 2022. At that time, the sale of

11   Debtor’s assets was still in its preliminary stages involving discussions with interested buyers.

12   Debtor subsequently filed its Second Amended Subchapter V Plan of Reorganization. As Debtor

13   has sold substantially all of its assets, it is a liquidating Plan. Debtor will investigate and pursue the

14   causes of action held by the estate if Debtor believes it is prudent to do so and will object to those

15   claims which it believes are not warranted. A hearing on confirmation of Debtor’s Plan is

16   scheduled for December 7, 2022.

17             7.   The Debtor and 424 Wholesale, Inc. (the “Companies”) asserted claims against

18   Andrade relating to, among other things, his employment with the Companies, his activities as a co-
19   owner and officer of the Companies, and activities as an independent designer or consultant during
20   the time that the Companies operated the 424 Group business. On December 21, 2021, the
21   Companies filed a Complaint against Mr. Andrade in the Marin County Superior, alleging claims of
22   breach of employment contract; breach of fiduciary duty; violation of unfair competition law;
23   embezzlement; misappropriation of trade secrets; fraud; intentional misrepresentation; and
24   temporary restraining order, preliminary and permanent injunctions.
25             8.   The Debtor, 424 Group Wholesale, Inc., myself and Mr. Andrade reached a
26   settlement of our disputes and on October 11, 2022, the Court entered its Order Granting the
27   Debtor’s Motion to Approve Compromise of Controversy Pursuant to Fed. R. Bankr. P. 9019
28   Between the Chapter 11 Debtor and Debtor in Possession and Guillermo Andrade. However, the

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 1   settlement shall become effective only upon approval of the Settlement Agreement and the entry of

 2   an Order approving the Debtor’s sale of the Claims which are the subject of this Motion.

 3             9.    Attached hereto as Exhibit 1 is the signed Claim Purchase Agreement (“CPA”)

 4   between the Debtor and Lightwork Worldwide LLC. The assets being sold under the CPA are

 5   generally described as the claims, causes of action and defenses against 380 Group, LLC and other

 6   claims held by the Debtor (collectively, the “Claims”) and are particularly identified in the CPA.

 7   The Claims do not include any claims listed in the Debtor’s Schedules of Assets and Liabilities, as

 8   amended or may be amended that (a) any affiliate of the Debtor may have in or against the Debtor

 9   or the Debtor’s bankruptcy estate; (b) myself, the Katrina Sirdofsky 1998 Family Trust/U/D/T/ May

10   7, 1998, or 424 Group Wholesale, Inc., may have in or against the Debtor, the Debtor’s bankruptcy

11   estate or each other; and (c) that I may have against Mr. Andrade (“Andrade”) and vice versa,

12   including but not limited to claims arising under or related to the Marital Settlement Agreement

13   between myself and Mr. Andrade, all of which are specifically excluded from the sale. The CPA

14   also does not impede, limit or interfere with the Debtor’s ability to use the Estate’s affirmative

15   claims to object to claims against the Estate.

16             10.   As set forth in the CPA, the proposed buyer of the Claims is Lightwork Worldwide

17   LLC (“Buyer”), the buyer of the Debtor’s assets under the Sale Order referenced above (“Primary

18   Asset Sale”).
19             11.   The Debtor and its counsel have been marketing the Claims for sale both before and

20   since the Primary Asset Sale and have spoken with two potential buyers. Only Buyer has

21   submitted a written offer acceptable to the Debtor.

22             12.   The purchase price (the “Purchase Price”) for the Claims is as follows:

23                   Four hundred, twenty-five thousand dollars ($425,000) in cash, payable as follows:
24                   i.     Deposit: $100,000.00 paid upon execution of this Agreement,
                            which will be applied to the Purchase Price at closing (the
25                          “Deposit”). The Deposit is non-refundable except in the event that
                            the Agreement and Sale are terminated as a result of Seller’s
26
                            breach, in each which event, the Deposit shall be returned to Buyer.
27                          Seller acknowledges receipt of the Deposit from Buyer. The
                            Deposit shall not be subject to any lien, attachment, trustee process,
28                          or any other judicial process of any creditor of Seller or Buyer.

                                                21
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 1                    ii.     Balance of Purchase Price. The balance of the Purchase Price,
                              minus the amount of the Deposit, shall be sent by cashier’s check or
 2                            a wire transfer to the attorney-client trust account of Weintraub &
                              Selth, APC, one business day prior to the Closing Date.
 3

 4             13.    The Debtor’s only secured creditor at the time the bankruptcy case was filed was a

 5   lien under Italian law in favor of Twentyfourseven s.r.l., in the approximate amount of €57,090.37,

 6   which was paid in full pursuant to the Primary Asset Sale.

 7             14.    The sale is to be a private sale free and clear of all liens, claims, encumbrances and

 8   other interests pursuant to Sections 105, 363, and 365 of the Bankruptcy Code. The Buyer’s offer

 9   is for a private sale with no overbids.

10             15.    The purchase price of $425,000 represents the highest and best written offer received

11   by the Debtor and, pursuant to the Debtor’s Second Amended Plan of Reorganization for Small

12   Business Under Chapter 11 puts the estate in a position to pay all estimated administrative and

13   priority claims and pay 100% of all non-insider allowed unsecured claims. Additionally, the Sale

14   avoids the costs, risks and delays associated with litigating the Claims being sold to Buyer.

15             16.    The Debtor does not wish to incur unnecessary administrative expense claims of

16   professionals. The prompt closing of the Sale will allow the Estate to stop incurring significant

17   additional administrative expenses which would necessarily and immediately result from the

18   Debtor continuing its pending litigation and the immediate closing of the Sale will result in the

19   liquidation of the estate’s sole remaining assets and allow the prompt and complete administration

20   of the Case.

21             17.    Neither I, the Debtor, nor I have any other relationship with the Buyer.

22             I declare under penalty of perjury under the laws of the United States that the foregoing is

23   true and correct. Executed this 24th day of October, 2022, at London, England.

24
                                                             ___________________________
25                                                           KATRINA SIRDOFSKY
26

27

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                                                  22
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 1                              DECLARATION OF DANIEL J. WEINTRAUB

 2              I, Daniel J. Weintraub, declare and state as follows:

 3             1.      I am the President of Weintraub & Selth, APC (“WS”), general bankruptcy counsel

 4   to 424 Group, Inc., the debtor and debtor in possession (“Debtor”) in the above captioned Chapter

 5   11 case. I am the attorney at WS with primary responsibility for this case. I submit this

 6   declaration in support of the Debtor’s Motion for Order Approving the Sale of the Debtor’s Claims

 7   Free and Clear of Liens, Claims, Interests and Encumbrances Pursuant to 11 U.S.C. §363(b)(1) and

 8   (f)(2) (the “Motion”). The Motion seeks authority to sell the Debtor’s claims, causes of action and

 9   defenses against 380 Group, LLC and other claims held by the Debtor (collectively, the “Claims”)

10   more particularly identified in the Claim Purchase Agreement (“CPA”) attached as Exhibit 1 to

11   the Declaration of Katrina Sirdofsky, in a private sale to Lightwork Worldwide LLC (the

12   “Buyer”).

13             2.      The assets sought to be sold by Debtor to Buyer pursuant to the CPA are all claims

14   and causes of action held by the estate and include but are not limited to the “Causes of action

15   against third parties” listed in Debtor’s Schedule B (item 74) filed with the Court on December

16   23, 2021 [Dkt. No. 1].

17             3.      I contacted all parties who I thought might be interested in purchasing the Claims,

18   inquiring as to their interest in purchasing the Claims. One party expressed interest in bidding

19   and I provided that person with access to a Drop Box containing several documents related to

20   Debtor’s claims against 380 Group, LLC. I also offered to provide any and all other information

21   the potential buyer might request. That party ultimately declined to submit an offer.

22             4.      I was responsible for negotiating the terms of sale to Buyer. The negotiations

23   included several calls and email with Buyer’s counsel, the redlining and negotiation of several

24   drafts of the CPA and one meeting with Buyer’s principal and its counsel.

25             5.      Neither I, nor any other employee of WS, (a) have any prior relationship of

26   connection with Buyer or its counsel, other than dealings with such parties earlier in this case

27   during which other assets of the estate were sold to Buyer or (b) have any agreement with Buyer

28   or its counsel. At all times I sought to maximize the sale price for the Claim and attempted to

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 1   obtain the highest and best price possible for the Claims.

 2             6.    The offer from Buyer is the highest and best price I was able to obtain for the

 3   Claims. No other person or entity or group of persons or entities offered to purchase the Claims

 4   for an amount that would give equal or greater economic value to Debtor.

 5             7.    Finally, Buyer’s offer was conditioned upon the Sale being a private sale, and as I

 6   was not aware of any other possible interested purchase of the Claims, the Debtor agreed to this

 7   condition.

 8             8.    The CPA was the result of arm’s-length negotiations by and between Debtor and

 9   Buyer without collusion or fraud, and in good faith. In addition, at all times, the Debtor was

10   represented by counsel and was free to deal with any other party interested in acquiring the

11   Claims. To my knowledge, the only payments made or to be made by Buyer and other

12   agreements or arrangements entered into by parties in connection with the Sale are set forth in the

13   CPA.

14             9.    To my knowledge, the Debtor has not entered into the CPA, or proposed to

15   consummate the Sale, for the purpose of hindering, delaying or defrauding Debtor’s present or

16   future creditors.

17             10.   To my knowledge, Buyer is not acquiring or assuming any liability, warranty or

18   other obligation of Debtor, including without limitation the Excluded Liabilities and

19   Encumbrances, other than cure payment, if any, owed to 380 Group, LLC or its affiliates.

20             11.   The Debtor has sound business purposes and justifications for entering into the

21   CPA given that: (a) consummation of the Sale, along with the proposed potential subordination of

22   the unsecured claims of insiders Katrina Sirdofsky and 424 Group Wholesale, Inc. on the

23   conditions set forth in Exhibit 6 to the Debtor’s Second Amended Plan of Reorganization [Doc.

24   No. 176] are projected to yield a one hundred percent (100%) distribution to allowed non-insider

25   general unsecured claims; and (b) the Sale avoids the costs, risks and delays associated with

26   litigating the Claims being sold to Buyer.

27             12.   The estate is the Plaintiff is a lawsuit in the Marin County Superior Court against

28   Guillermo Andrade and has also commenced discovery under Bankruptcy Rule 2004 against 380

                                                24
     3822.02              MOTION FOR ORDER APPROVING SALE OF DEBTOR’S CLAIMS
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 1   Group, LLC and Guillermo Andrade. The Debtor, 424 Group Wholesale, Inc. and Katrina

 2   Sirdofsky and Andrade reached a settlement of their disputes and on October 11, 2022, the Court

 3   entered its Order Granting the Debtor’s Motion to Approve Compromise of Controversy Pursuant

 4   to Fed. R. Bankr. P. 9019 Between the Chapter 11 Debtor and Debtor in Possession and Guillermo

 5   Andrade [Doc. No. 183].

 6             13.     As set forth in the Settlement Agreement between the Debtor and Mr. Andrade, the

 7   settlement shall become effective only upon the entry of final, non-appealable orders of the

 8   Bankruptcy Court approving the Settlement Agreement and approving the Debtor’s sale of the 380

 9   Claims. While the Settlement Agreement has been approved by the Court, the sale of the 380

10   Claims must also be approved for the settlement with Mr. Andrade to become effective.

11             14.     Additionally, the consummation of this Sale will satisfy one condition precedent to

12   the subordination of the insider claims of Ms. Sirdofsky and 424 Group Wholesale, Inc.,

13   (Condition No. 1 - that the Debtor consummate the sale of the 380 claims for at least $425,000

14   prior to the Plan confirmation hearing), and very likely a second condition (Condition No. 4 – that

15   a minimum of $1,400,000 be available for distribution under the Plan after payment of all allowed

16   secured, priority and administrative claims). The other two conditions to subordination are that the

17   Plan be confirmed by December 15, 2022, and that the Debtor strictly comply with Section 4.01 of

18   the Plan which pertains to the making of the initial and final distributions to general unsecured

19   creditors under the Plan. Prompt approval of the Sale is therefore crucial as it greatly assists the

20   Debtor in meeting the conditions of the Plan that trigger subordination of the insider claims, which

21   in turn will result in the payment of a dividend of one hundred percent (100%) to allowed non-

22   insider general unsecured creditors.

23              I declare under penalty of perjury under the laws of the United States that the foregoing is

24   true and correct. Executed this 24th day of October, 2022, at Los Angeles, California.

25                                                            /s/ Daniel J. Weintraub
26                                                            ____________________________
27                                                            DANIEL J. WEINTRAUB

28

                                                  25
     3822.02                MOTION FOR ORDER APPROVING SALE OF DEBTOR’S CLAIMS
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               EXHIBIT "1"
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                                 CLAIM PURCHASE AGREEMENT

           This CLAIM PURCHASE AGREEMENT                   Agreement is made and entered
   into as of October 10, 2022, by and between 424 Group, Inc. as the debtor and debtor in
   possession Debtor         Seller in the Chapter 11 bankruptcy case pending in the United
   States Bankruptcy Court for the Central District of California Los Angeles Division (the
    Bankruptcy Court as case number 2:21-bk-19407-SK                Bankruptcy Case , 424
   Group Wholesale Inc., and any other affiliates of the Seller, and Lightwork Worldwide
   LLC, a California limited liability company or its assignee Buyer for the sale and
   purchase of the Assets (as defined below) to Buyer on the terms and conditions set forth
   herein. The Seller and Buyer                                               Parties
                      Party .

          WHEREAS, the Seller is party to a letter of intent ( 380 License
   1, 2020, in which the Seller entered in an agreement to license its intellectual property to
                      380 Group                                        ;

         WHEREAS, the Debtor claims that 380 Group owes the Debtor unpaid royalties
                                              failure to account to the Debtor, pay royalties
   when due under the 380 License and other conduct causing damage to the Debtor.

            WHEREAS, 380 Group claims the Debtor owes certain funds to 380 Group with


          WHEREAS, on December 23, 2021 the Seller filed a voluntary petition under
   Chapter 11 of Title 11 of the United States Code (the Bankruptcy Code in the
   Bankruptcy Court thereby commencing the Bankruptcy Case;

         WHEREAS, Gregory Jones was appointed as Trustee under Subchapter V of the
   Bankruptcy Code;

          WHEREAS, by Asset Purchase Agreement dated June 23, 2022 Buyer purchased
   substantially all of the assets of Seller;

          WHEREAS, the Bankruptcy Court entered the Order (1) Approving the Sale of
   Substantially All Assets of the Estate Free and Clear of Liens, Claims, Interests and
   Encumbrances Pursuant to 11 U.S.C. §363(b)(1) and (f)(2); and (2) Authorizing
   Assumption and Assignment o                                   and Interest, If Any, in
   Commercial Lease [Docket No. 112] on June 30, 2022.

          WHEREAS, the obligations of the Parties under this Agreement are conditioned
   upon, among other things, the approval of the Bankruptcy Court in accordance with the
   terms hereof.

           NOW THEREFORE, in consideration of the mutual representations, covenants,
   warranties and agreements set forth herein, and for other good and valuable consideration,
   the receipt and adequacy of which are hereby acknowledged, the Parties hereby agree as
   follows:

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                                             ARTICLE I
                                            DEFINITIONS

         1.      Definitions. As used in this Agreement, the following terms have the
   meanings indicated:

            Affiliate
   controlling, controlled by, or under common control, directly or indirectly, with such
   specified Person, and, if the Person referred to is a natural Person, any member of such


   Person, means the possession, directly or indirectly, of the power to direct or cause the
   direction of the management and policies of such Person, whether through the ownership
   of voting securities, by contract or otherwise.

           Business Day                                           Sunday or a day on which
   banks are not required or authorized by law to be closed in New York, New York.

                       has the meaning ascribed to such term in the Bankruptcy Code.

             Encumbrances
   pledges, security interests, easements, options, rights of first refusal or first offer, proxies,
   voting trusts, voting agreements, judgments, preemptive purchase rights, transfer
   restrictions, hypothecations, assignments or other encumbrances or interests.

            Law
   foreign, international, multinational or other constitution, statute, law, ordinance, treaty,
   decree, Order, injunction, code, requirement, rule or regulation of any Governmental
   Entity.

            Legal Proceeding
   grievance, demand, suit, litigation, arbitration, mediation, proceeding (adversarial or
   investigative), notice of violation, citation, subpoena, summons, inquiry, hearing,
   indictment, audit, examination, investigation or similar matter (whether civil, criminal,
   administrative, judicial, regulatory, investigative or otherwise, whether formal or informal,
   whether public or private and whether at Law or in equity) before any governmental entity,
   mediator or arbitrator, whether brought, initiated, asserted or maintained by a governmental
   entity or any other Person.

            Organizational Documents
   articles of incorporation or formation, bylaws, limited liability company agreement,
   operating agreement and any other formation or governing documentation or agreement of
   such Person, as applicable.

           Person
   joint venture, association, joint stock company, limited liability company, trust,
   organization or Governmental Entity or political subdivision thereof and any other entity.


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                                        ARTICLE II
                             SALE AND PURCHASE OF THE ASSETS

            2.       ASSETS. Buyer shall purchase the Assets on Exhibit 1.

            3.      EXCLUDED LIABILITIES. Notwithstanding anything herein to the
   contrary, the Parties expressly acknowledge and agree that the Assets shall be sold to
   Buyer, free and clear of all Encumbrances, and Buyer shall not assume, be obligated to
   pay, perform or otherwise discharge or in any other manner be liable or responsible for any
   liabilities, indebtedness, and obligations of the Seller, whether existing on the Closing Date
   or arising thereafter.

                                              ARTICLE III
                                            PURCHASE PRICE

          4.      PURCHASE PRICE. The                                    Purchase Price
   Assets shall be as set forth below:

                     a. Four hundred, twenty-five thousand dollars ($425,000) in cash, payable
                        as follows:

                              i. Deposit: $100,000.00 paid upon execution of this Agreement,
                                 which will be applied to the Purchase Price at closing (the
                                  Deposit                         -refundable except in the event
                                 that the Agreement and Sale are terminated as a result of
                                          breach, in each which event, the Deposit shall be
                                 returned to Buyer. Seller acknowledges receipt of the Deposit
                                 from Buyer. The Deposit shall not be subject to any lien,
                                 attachment, trustee process, or any other judicial process of any
                                 creditor of Seller or Buyer.

                              ii. Balance of Purchase Price. The balance of the Purchase Price,
                                  minus the amount of the Deposit, shall be
                                  check or a wire transfer to the attorney-client trust account of
                                  Weintraub & Selth, APC, one business day prior to the Closing
                                  Date.

           5.      SHARING. If Buyer commences a lawsuit or enters into a settlement with
   380 Group, 380 Group S.r.l., or any of its affiliates related to any of the claims that Buyer
   purchases from Seller related to 380 Group or its affiliates, (which decision to commence
   such a lawsuit shall be within the sole and absolute discretion of Buyer), Seller shall be
   entitled to share in fifty percent (50%) any damages awarded or settlement reached solely
   to the extent that such damages awarded or settlement reached is in excess of the sum of
   $425,000 plus                                                    and directly related to such
   lawsuit, settlement or the entry into this Agreement.




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                                              ARTICLE IV
                                            CLOSING OF SALE

           6.      CLOSING. Subject to the terms and conditions hereof, the closing of the
   sale of Assets contemplated by this Agreement (the Closing shall take place on or before
   the fifth (5th) business day following the entry of an order of the Bankruptcy Court
                            Motion for an Order Approving the Claim Purchase Agreement
   confirming the sale of the Assets to Buyer.

                                        ARTICLE V
                               CONDITIONS TO CLOSING OF SALE

          7.     BUYER CLOSING CONDITIONS. The obligations of the Buyer
   hereunder are subject to the satisfaction, on or prior to the date of the Closing, of the
   following conditions:

                a. Accuracy of Representations; Performance of Obligations. Seller will have

                     before the date of the Closing in all material respects, and the
                     representations and warranties of the Seller contained in Article VI of this
                     Agreement will be true and correct in all respects on and as of the date of
                     the Closing with the same effect as though such representations and
                     warranties had been made on and as of such date.

                b. Condition of the Assets. Except as otherwise set forth herein, Buyer will


                c. Encumbrances. The Assets shall be free of all Encumbrances.

                d. Transfer of Title. Title to and possession of the Assets shall immediately
                   pass to Buyer upon the Closing.

                e. Bankruptcy Court Approval. This Agreement is a binding agreement and
                   is subject only to the entry of an order, substantially in the form attached
                   hereto as Exhibit 2, transferring to Buyer the Assets free and clear of
                   E                     Sale Order . The Sale Order shall expressly provide,
                   among other things, that Buyer is a good faith purchaser of the Assets within
                   the meaning of 11 U.S.C. § 363(m) and that Buyer shall not be deemed a
                   successor to the Seller as a result of its purchase of the Assets.

                f. Additional Documents. The Buyer will have received all such further
                   consents, instruments and documents as the Buyer may reasonably request
                   for the more effective conveyance, sale, assignment or transfer to the Buyer
                   of title to any of the Assets, including without limitation, such bills of sale,
                   deeds, endorsements, assignments (including requisite assignments of all
                   Assets), powers of attorney, UCC terminations and other filings and other
                   good and sufficient instruments, each in form reasonably satisfactory to
                   Buyer, which are necessary to vest in Buyer all the right, title and interest

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                     of Seller in, to or under any or all of the Assets free and clear of
                     Encumbrances.

                 g. Tax Considerations. A duly completed Form W-9 executed by Seller (or if
                    Seller is a disregarded entity for U.S. federal income tax purposes, a Form
                    W-9 executed by the person treated as its regarded owner for U.S. federal
                    income purposes)

            8.       SELLER CLOSING CONDITIONS.                  The obligations of the Seller

   Closing, of the following conditions:

                 a. Accuracy of Representations; Performance of Obligations. Buyer will have

                     before the date of the Closing in all material respects, and the
                     representations and warranties of the Buyer contained in Article VI of this
                     Agreement will be true in all material respects (except for such
                     representations and warranties that are qualified by their terms by a
                     reference to materiality, which representations and warranties as so
                     qualified will be true in all respects, and representations and warranties that
                     relate to a certain date, which shall be true and correct as of such date) on
                     and as of the date of the Closing with the same effect as though such
                     representations and warranties had been made on and as of such date.

                 b. Purchase Price. The Buyer will have paid the Purchase Price pursuant to
                    Article III, by wire transfer in immediately available funds.

                 c. Bankruptcy Court Approval. The Bankruptcy Court shall have entered the
                    Sale Order.

                 d. Additional Documents. The Seller will have received all such further
                    instruments and documents as the Seller may reasonably request for the
                    more effective conveyance, sale, assignment or transfer by the Seller to the
                    Buyer of any of the Assets.

                                      ARTICLE VI
                            REPRESENTATIONS AND WARRANTIES

            9.      Each of the Parties to this Agreement represents, warrants, and agrees as to
   itself (as applicable) as follows:

                 a. Power. Subject to entry of the Sale Order, each Party hereto represents that
                    he, she or it has full authority and capacity to execute this Agreement and
                    perform its respective obligations under this Agreement in accordance with
                    the terms of this Agreement.

                 b. Authority Relative to Agreement. Subject to entry of a Sale Order, the
                    execution, delivery, and performance of this Agreement by the Parties and

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                     the consummation by the Parties of the transactions provided for herein,
                     have been duly and effectively authorized by all necessary action. The
                     Parties will execute all such further and additional documents as shall be
                     reasonable, convenient, necessary or desirable to carry out the provisions of
                     this Agreement. This Agreement and any other documents executed by the
                     Parties, upon execution by the Parties, will constitute the legal, valid and
                     binding obligation of the Parties.

                c. Reliance. Neither Party (nor any officer, agent, employee, representative,
                   or attorney of or for any party) has made any statement or representation to
                   any other Party regarding any fact relied upon in entering into this
                   Agreement, and each Party does not rely upon any statement, representation
                   or promise of any other Party (or of any officer, agent, employee,
                   representative, or attorney for the other Party), in executing this Agreement,
                   except as expressly stated in this Agreement. Each Party to this Agreement
                   has made such investigation of the facts pertaining to this Agreement and
                   of all the matters pertaining thereto as it deems necessary.

                d. Title and Condition of Purchased Assets. The Seller has possession or
                   control of the Assets to be conveyed as of the Closing and has good and
                   marketable title to all of the Assets and will deliver title to such Assets to
                   Buyer free of all Encumbrances.

                e. Compliance with Laws. Parties are in compliance with all applicable Laws.

                f. Taxes.
                   Regulations Section 1.1445-2.

                g. Legal Proceedings. As of the date hereof, except for the Bankruptcy Case
                   and Rule 2004 proceedings seeking discovery from 380 Group and
                   Guillermo Andrade and litigation pending against Guillermo Andrade in the
                   Superior Court of California, County of Marin styled 424 Group, Inc. d/b/a
                   FourTwoFour on Fairfax; 424 Group Wholesale, Inc. v. Guillermo
                   Andrade aka Mynor Guillermo Andrade Ortega, an individual; and Does 1
                   through 10, inclusive, Case No. CIV 2104249, Seller represents that there
                   is no proceeding or order that (a) seeks to restrain or prohibit or otherwise
                   challenge the consummation, legality or validity of the transactions
                   contemplated hereby or (b) is in any way related to the Assets.

                h. No Conflicts. Neither the execution, delivery and performance of this
                   Agreement, nor the consummation of the transactions provided for herein,
                   will (a) conflict with or result in a breach of any provision of the
                   organizational documents, (b) conflict with, result in a breach of, constitute
                   a default or event of default under any of the terms, conditions or provisions
                   of any agreement or instrument to which the Buyer is a party, or (c) result
                   in a violation of any Laws (as defined here) applicable to the Buyer. No
                   consent, approval or authorization of, or registration or filing with, any third


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                     party is required in connection with the execution and delivery by Buyer of
                     this Agreement and the consummation of the transactions contemplated
                     hereby.

                i. Operations Prior to Closing Date. Seller covenants and agrees that, except
                   (i) as expressly contemplated by this Agreement, (ii) with the prior written
                   consent of Buyer, (iii) as required by the Bankruptcy Court other Court of
                   competent jurisdiction, or (iv) as otherwise required by, prior to the Closing
                   Date (or the earlier termination of this Agreement): (A) Seller and its
                   Affiliates shall stay any pending Legal Proceedings related to the Assets;
                   and (B) Seller and its Affiliates shall not commence any Legal Proceedings
                   related to the Assets.

                j. Approvals and Financing. Buyer has received all corporate and financing
                   party approvals necessary to consummate the transactions contemplated by
                   this Agreement. As of the date hereof, Buyer has sufficient funds available
                   to pay the Purchase Price and is not aware of any facts, circumstances or
                   conditions that would reasonably be expected to prevent the Buyer from
                   having sufficient funds to enable the Buyer to consummate the transactions
                   contemplated by this Agreement on the Closing Date.

                                        ARTICLE VII
                                 TERMINATION OF AGREEMENT

         10.     TERMINATION. Notwithstanding anything to the contrary in this
   Agreement, this Agreement may be terminated at any time prior to the Closing:

                a. by mutual written consent of the Seller and Buyer;

                b. by the Seller, if Buyer shall have breached or failed to perform in any
                   material respect any of its respective representations, warranties, covenants
                   or other agreements contained in this Agreement, and such breach or failure
                   to perform (i) would give rise to the failure of a condition set forth in Article
                   V, and (ii) cannot be or has not been cured prior to the date that is five (5)
                   days from the date that Buyer is notified by the Seller of such breach or
                   failure to perform; provided, however, that the Seller shall not have a right
                   to terminate this Agreement under this section if the Seller is then in
                   material breach of this Agreement;

                c. by the Buyer, if the Seller shall have breached or failed to perform in any
                   material respect any of its respective representations, warranties, covenants
                   or other agreements contained in this Agreement, and such breach or failure
                   to perform (i) would give rise to the failure of a condition set forth in Article
                   V, and (ii) cannot be or has not been cured prior to the date that is five (5)
                   days from the date that the Seller is notified by Buyer of such breach or
                   failure to perform; provided, however, that Buyer shall not have a right to



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                     terminate this Agreement under this section if Buyer is then in material
                     breach of this Agreement; and

                d. by Buyer or Seller, upon written notice to the Seller, if the Sale Order has
                   not been entered by November 15, 2022, unless mutually extended by the
                   Parties.

          11.     EFFECT OF TERMINATION. In the event of termination by the Seller or
   Buyer pursuant to Article VII(10), written notice thereof shall forthwith be given to the
   other Party and the Agreement shall be terminated, without further action by any party. In
   the event of any valid termination under Article VII(10) other than a termination pursuant
   to Article VII(10)(b), Seller shall return the Deposit to Buyer by wire transfer in
   immediately available funds. In the event of any valid termination under Article
   VII(10)(b), Seller shall be entitled to retain the Deposit as its sole remedy.

                               ARTICLE IX
              ADDITIONAL AGREEMENTS IN CONNECTION WITH SALE

           12.     PAYMENTS RECEIVED. Seller, on the one hand, and Buyer, on the other
   hand, each agree that, after the Closing, each will hold and will promptly transfer and
   deliver to the other, from time to time as and when received by them, any cash, checks with
   appropriate endorsements (using each of their best efforts not to convert such checks into
   cash) or other property that they may receive on or after the Closing which properly belongs
   to the other and will account to the other for all such receipts.

           13.     This Agreement shall be deemed to have been executed and delivered
   within the State of California, and the rights and obligations of the Parties hereunder shall
   be construed and enforced in accordance with, and governed by, the laws of the State of
   California. For                                L
   ordinances, regulations, codes, rules, directives, other laws, permits, authorizations,
   governmental restrictions and requirements, and decrees or orders of any court or other
   governmental agency relating to the Assets or Premises, including (without limitation) tax,
   occupational health and safety, and environmental laws.

           14.     This Agreement and the right of the Parties hereunder shall be binding upon
   and inure to the benefit of the Parties hereto and their respective successors and permitted
   assigns. Each term of this Agreement is contractual and not merely a recital. The
   provisions of this Agreement are intended for the sole benefit of the Parties as specifically
   provided herein, and shall not inure to the benefit of any other entity or person (other than
   successors and permitted assigns of the Parties hereto) either as a third party beneficiary or
   otherwise. No Party may assign either this Agreement or any of his or its rights, interests,
   or obligations hereunder without the prior written approval of the other Party, and any
   attempt to do so shall be void. This Agreement is the entire Agreement between the Parties
   with respect to the subject matter hereof and supersedes all prior and contemporaneous oral
   and written agreements and discussions. This Agreement may be amended only by an
   agreement in writing.



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          15.     Each Party has read this Agreement and understands the contents hereof.
   Each Party has cooperated in the drafting and preparation of this Agreement. Hence, in
   any construction to be made of this Agreement, the same shall not be construed against any
   Party.

           16.     In the event of litigation relating to this Agreement, the prevailing Party
   shall be entitled to reasonable

           17.     This Agreement may be executed in counterparts, and when each Party has
   signed and delivered at least one such counterpart, each counterpart (including facsimile
   signatures) shall be deemed an original, and, when taken together with other signed
   counterparts, shall constitute one Agreement, which shall be binding upon and effective as
   to both Parties.

          18.     The Parties hereto agree that the Bankruptcy Court shall have sole and
   exclusive jurisdiction, sitting without a jury, to hear and determine and disputes that arise
   under or on account of this Agreement.

           19.     If any of the provisions of this Agreement are held by the court of competent
   jurisdiction to be invalid, void or otherwise unenforceable, the remaining provisions shall
   nonetheless continue in full force and effect without being impaired or invalidated in any
   way.

         20.      In no event shall any party be obligated or liable for any indirect,
   consequential, special, or punitive damages.

          21.    The parties hereby waive trial by jury in any action, proceeding or
   counterclaim brought by any party against another party on any matter arising out of or in
   any way connected with this Agreement.

            22.     Nothing in this Agreement expressed or implied is intended to confer upon
   any person other than the parties hereto or their respective successors, any right, remedies,
   obligations or liabilities under or by reason of this Agreement, and neither Seller nor any
   affiliate of Seller shall have any right of offset or setoff whatsoever.

            23.    The Parties shall execute and deliver all documents and will each use
   commercially reasonable efforts to effectuate the transactions contemplated hereby and to
   fulfill and cause to be fulfilled the conditions to the Closing. After the Closing, the Parties
   further agree to execute and deliver all documents and will use commercially reasonable
   efforts to perform all further acts that may be necessary to effectuate the provisions of this
   Agreement.

                                               ARTICLE X
                                                NOTICE

          24.     Notices. Any notices or communications required or permitted hereunder
   shall be sufficiently given if delivered in person, sent by reputable overnight carrier,


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   registered or certified mail, return receipt requested, postage prepaid, or e-mail addressed
   as follows:

                     Seller: 424 Group, Inc.,
                             c/o Steve Coats, CPA
                             775 E. Blithedale Avenue PMB542
                             Mill Valley, CA 94941
                             E-mail: stephencoats@aol.com
                             E-mail: katrina@424groupinc.com

                     With a copy to: Weintraub & Selth, APC
                            11766 Wilshire Boulevard, Suite 450
                            Los Angeles, CA 90025
                            Tel.: (310) 207-1494
                            Fax: (310) 442-0660
                            Attn: Daniel J. Weintraub, Esq.
                            E-mail: dan@wsrlaw.net

                     Buyer: Lightwork Worldwide LLC
                            2030 E Vista Bella Way
                            Compton, CA 90220
                            Attn: Edward Zhou and Chiouyi Chang
                            E-mail: edward@lightworkworldwide.com
                                    chiouyi@instaco.com

                     With a copy to: Katten Muchin Rosenman LLP
                            50 Rockefeller Plaza
                            New York, NY 10020
                            Tel.: (212) 940-8700
                            Fax: (212) 940-8776
                            Attn.: Steven J. Reisman, Esq.
                                    Cindi Giglio, Esq.
                            E-Mail: sreisman@katten.com
                                     cgiglio@katten.com

                     Subchapter V Trustee: Gregory K. Jones
                           Stradling Yocca Carlson Rauth
                           10100 N. Santa Monica Boulevard, Suite 1400
                           Los Angeles, CA 90067
                           Tel.: (424) 214-7044
                           Fax: (424) 214-7010
                           E-Mail: gjones@stradlinglaw.com

   or such address as shall be furnished by such notice to the other Parties. All notices shall
   be deemed delivered when delivered in person or facsimile or on the day following deposit
   of such notice with a reputable overnight carrier or the U.S. mail with adequate postage
   thereon.

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                                                                         EXECUTION COPY


   IN WITNESS WHEREOF, each of the Parties hereto has caused this Agreement to be
   executed by its duly authorized representative as of the day and year first written above.


   424 Group, Inc.,
   a California corporation



   By: Katrina Sirdofsky,
   President and Chief Executive Officer



   Lightwork Worldwide LLC
   a California limited liability company


   By: Edward Zhou
   Chief Executive Officer




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                                             EXHIBIT 1

                                           Assets Purchased


right to recovery by the Debtors or its Affiliates solely to the extent related or pertaining to the
Debtor or its business, including without limitation, from any Legal Proceeding, including but not
limited to the right to monetary benefits, or benefits that may be monetized, from settlements,
judgments, or any other form of resolution of any Legal Proceeding or the operative facts alleged
in any Legal Proceeding. Further, the Assets includes all defenses, rights of set-off, counter-
claims, causes of action, and litigation rights existing as of the Effective Time in favor of Seller
against third parties arising out of and relating to the Assets, whether choate or inchoate, known
or unknown, contingent or non-contingent. Notwithstanding the foregoing, the Assets shall not
include any interests (including equity interests), claims, demands, rights, causes or causes of
action, defenses, liens, and cross claims, including, without limitation, any claims scheduled on
                            Assets and Liabilities, as amended or may be amended (collectively, the

bankruptcy estate;
Trust/U/D/T/ May 7, 1998, or 424 Group Wholesale, Inc., may have in or against the Debtor, the
                               or each other; and (c) that Sirdofsky may have against Guillermo
Andrade and vice versa, including but not limited to claims arising under or related to the Marital
Settlement Agreement between Sirdofsky and Andrade. Additionally, nothing herein shall
preclude the Debtor, Sirdofsky, 424 Group Wholesale, Inc. or an Affiliate from defensively
objecting to any proofs of claim filed in the Chapter 11 case, including asserting in such claim
objection that a creditor may have committed fraud upon or violated the law with respect to the
Debtor and that such conduct should be an offset to, reduce
liability to such creditor in respect of its claims. In no event shall the Debtor seek an award of
damages or affirmative relief against such creditor.




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                                             EXHIBIT 2

                                             Sale Order




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     Daniel J. Weintraub Bar #132111
 1   James R. Selth Bar #123420
     WEINTRAUB & SELTH, APC
 2   11766 Wilshire Boulevard, Suite 450
 3   Los Angeles, CA 90025
     Telephone: (310) 207-1494
 4   Facsimile: (310) 442-0660
     Email: dan@wsrlaw.net
 5

 6   General Bankruptcy Counsel to
     Chapter 11 Debtor and Debtor in Possession,
 7   424 GROUP, INC.

 8

 9
                                   UNITED STATES BANKRUPTCY COURT
10
                   CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
11

12
     In re:                                                  Case No. 2:21-bk-19407-SK
13
     424 GROUP, INC.,                                        Chapter 11    Subchapter V
14
                                                              ORDER APPROVING SALE OF THE
15
               Debtor and Debtor in Possession.
16

17                                                           Hearing:
                                                             Date: [___], 2022
18                                                           Time: [____]
                                                             Place: Courtroom 1575
19
                                                                    255 E. Temple St.
20                                                                  Los Angeles, CA 90012

21

22

23

24

25

26            Upon consideration of the Motion for Order Approving the Sale of

27   [Docket No. __           Motion           the above-captioned debtor and debtor in possession (the

28    Debtor        Seller

                                                            -1-
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 1                                    Bankruptcy Code

 2   Ru                                          Bankruptcy Rules

 3    Sale

 4                                                       Buyer             h in the asset purchase agreement,

 5   dated as of October [_], 2022 (as may be amended from time to time), annexed hereto as Exhibit 1

 6           Purchase Agreement                          424 Group Wholesale Inc., and any other affiliates of

 7   the Seller, and Buyer; and this Court having determined that the relief set forth in this Order is in

 8   the best interests of Debtor, its estate, creditors, and other parties in interest; and due and adequate

 9   notice of the Motion having been given under the circumstances; and the Court having conducted a

10   hearing on the Motion commencing on [___]                      Sale Hearing

11   interested parties were offered an opportunity to be heard with respect to the Motion; and the Court

12   having (i) reviewed and considered the Motion, all relief related thereto, any objections thereto, and

13   statements of counsel and the evidence presented in support of the relief requested by Debtor in the

14   Motion and at the Sale Hearing; and upon the entire record in this Bankruptcy Case; and it further

15   appearing that the legal and factual bases set forth in the Motion and at the Sale Hearing establish

16   just cause for the relief granted herein; and after due deliberation thereon, and good and sufficient

17   cause appearing therefor, it is hereby FOUND AND DETERMINED THAT:

18            A.      Findings of Fact and Conclusions. The findings and conclusions set forth herein

19

20   made applicable to this proceeding pursuant to Bankruptcy Rule 9014.

21            B.      Jurisdiction and Venue. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1334

22   and 157. This is a core matter pursuant to 28 U.S.C. § 157(b)(2), and this Court may enter a final

23   order consistent with Article III of the United States Constitution. Venue is proper pursuant to 28

24   U.S.C. §§ 1408 and 1409.

25            C.      Statutory and Legal Predicates. The statutory predicates for the relief are

26   Bankruptcy Code sections 105 and 363 and Bankruptcy Rules 2002, 6004, and 9014.

27            D.      Notice. Due and adequate notice of the proposed Sale, the Sale Hearing, and the

28   subject matter thereof has been provided to all parties in interest herein, and no other or further

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 1   notice is necessary. A reasonable opportunity to object or be heard with respect to the Sale has

 2   been afforded to all interested persons and entities.

 3           E.       Interests Property of the Estate. The Assets sought to be transferred by Debtor to

 4

 5                                                of section 541(a) of the Bankruptcy Code. Debtor is the sole

 6   and rightful owner of such Assets sought to be transferred by Debtor with all right, title, and interest

 7   to transfer and convey the Assets to Buyer, and no other person has any ownership right, title, or

 8   interests therein.

 9           F.       Sufficiency of Marketing. (i) Debtor and its advisors engaged in an appropriate

10   marketing and sale process for Assets under the circumstances of this case through postpetition sale

11   efforts and the postpetition sale process, as set forth in the Declarations of Katrina Sirdofsky and

12   Daniel Weintraub; (ii) Debtor and its advisors conducted a fair and open sale process; (iii) the sale

13   process and the actions of Debtor and Buyer in connection therewith were non-collusive and duly

14   noticed, and provided a full, fair, and reasonable opportunity for other entities to make an offer to

15   purchase Assets; and (iv) the process conducted by Debtor sought a higher or otherwise better offer

16   to purchase Assets; and (v) the process conducted by Debtor obtained the highest or otherwise best

17                                                  no other transaction would have yielded as favorable an

18   economic result. No other person or entity or group of persons or entities has offered to purchase

19   Assets for an amount that would give equal or greater economic value to Debtor than the value

20   being provided by Buyer pursuant to the Purchase Agreement. Among other things, the Sale is the

21   best alternative available to Debtor to maximize the return to its creditors. The terms and

22   conditions of the Purchase Agreement are fair and reasonable. Approval of the Motion, the

23   Purchase Agreement, and the transactions contemplated thereby, including the Sale, is in the best

24   interests of Debtor, its estates and creditors, and all other parties in interest.

25           G.       A      -                                   . The Purchase Agreement and Transactions

26   contemplated therein were negotiated, proposed and are undertaken by Debtor, its officers,

27   directors, employees, agents, and representatives, including its counsel, on the one hand, and Buyer

28   and its management, officers, directors, employees, agents, representatives, and counsel, on the

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 1                             -length bargaining positions without collusion or fraud, and in good faith

 2   within the meaning of section 363(m) of the Bankruptcy Code. Buyer has proceeded in good faith,

 3   including by: (a) recognizing that Debtor was free to deal with any other party interested in

 4   acquiring the Assets; (b) negotiating and entering into the Purchase Agreement without collusion,

 5

 6   any conduct that would cause or permit the Purchase Agreement or the consummation of the Sale to

 7   be avoided, or costs or damages to be imposed, under section 363(n) of the Bankruptcy Code. All

 8   payments to be made by Buyer and other agreements or arrangements entered into by Buyer in

 9   connection with the Sale have been disclosed, neither Buyer, nor Debtor has violated section 363(n)

10   of the Bankruptcy Code by any action or inaction. As a result of the foregoing, in the absence of a

11   stay pending appeal, Buyer will be acting in good faith within the meaning of section 363(m) of the

12   Bankruptcy Code in closing and consummating the Sale at any time after the entry of this Order,

13   and, accordingly, such closing and consummation in the face of an appeal will not deprive Buyer of

14   its status as a good faith purchaser. Without limiting the generality of the foregoing, the reversal or

15   modification on appeal of the authorization provided herein to consummate the Sale or any portion

16   thereof, shall not affect the validity of the Sale. Buyer and Debtor are entitled to all of the

17   protections afforded by section 363(m) of the Bankruptcy Code.

18           H.       Highest or Best Offer. The total consideration provided by Buyer for the Assets as

19   reflected in the Purchase Agreement is the highest and best offer received by Debtor for the Assets.

20   The Debtor determined that the Purchase Agreement constituted the highest and best offer for the

21                                                                           utes the highest and best offer

22   constitutes

23   enter into the Purchase Agreement and consummate the Transactions constitutes a proper exercise

24   of the fiduciary duties of Debtor and its officers and directors. The offer of Buyer, upon the terms

25   and conditions set forth in the Purchase Agreement, including the total consideration to be realized

26   by Debtor thereunder, (a) is the highest and best offer received by Debtor, and (b) is in the best

27   interests of Debtor, its creditors, its estate and other parties in interest. The Purchase Agreement

28   and Transactions will present the best opportunity to realize the value of the Assets. taking into

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 1   consideration all relevant factors and circumstances, no other entity has offered to purchase the

 2   Assets for greater economic value to Debtor or its estate than that provided by the Purchase

 3   Agreement.

 4           I.       No Fraudulent Purpose. The Purchase Agreement was not entered into, and neither

 5   Debtor nor Buyer have entered into the Purchase Agreement, or propose to consummate the Sale,

 6

 7   Debtor nor Buyer have entered into the Purchase Agreement, or are proposing to consummate the

 8   Sale, fraudulently for the purpose of statutory and common law fraudulent conveyance and

 9   fraudulent transfer claims whether under the Bankruptcy Code or the laws of the United States, any

10   state, territory, possession thereof, the District of Columbia or any other applicable jurisdiction with

11   laws substantially similar to the foregoing.

12           J.       Sale Free and Clear. Except as expressly provided for in the Purchase Agreement or

13   this Order, if at all, Buyer is not acquiring or assuming any liability, warranty or other obligation of

14   Debtor, including without limitation the Excluded Liabilities and Encumbrances. The transfer of

15   the Assets to Buyer will not subject Buyer to any liability whatsoever with respect to the operation

16                                                    .

17           K.       Sale as an Exercise of Business Judgment. Debtor has demonstrated good,

18   sufficient, and sound business purposes and justifications for approval of and entry into the Sale and

19   the Purchase Agreement, including that the Sale, along with the proposed potential subordination of

20   the unsecured claims of Katrina Sirdofsky and 424 Group Wholesale, Inc., on the conditions set

21   forth in the Debtor Second Amended Plan of Reorganization is projected to yield a one hundred

22   percent (100%) distribution to allowed general unsecured claims and avoids the costs, risks and

23   delays associated with litigating the claims sold to Buyer

24   under the Purc

25   business judgment and such acts are in the best interests of Debtor, its estate, and all parties in

26   interest. The Court finds that Debtor has articulated good and sufficient reasons justifying the Sale,

27   including, but not limited to, that they: (a) are the result of due deliberation by Debtor and

28

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 1   fiduciary duties; (b) provide value to and a

 2   interests of Debtor and its estates, creditors and other parties in interest; and (c) are reasonable and

 3   appropriate under the circumstances. Business justifications for the Sale include, but are not limited

 4   to, the following: (x) the Purchase Price set forth in the Purchase Agreement constitutes the highest

 5   or otherwise best offer received for the Assets; (y) the Purchase Agreement presents the best

 6   opportunity to maximize the value of the Assets; and

 7   maximized through the sale of the Assets pursuant to the Purchase Agreement.

 8           L.       Compelling Reasons for an Immediate Sale. The prompt sale of the Assets will

 9   avoid the Estate incurring significant additional administrative expenses which would necessarily

10   and immediately result from the Debtor continuing pending litigation and will allow the prompt and

11   complete administration of the Case. Therefore, time is of the essence in consummating the Sale,

12   and Debtor and Buyer intend to close the Sale as soon as reasonably practicable. Debtor has

13   demonstrated compelling circumstances and a good, sufficient, and sound business purpose and

14   justification for the immediate approval and consummation of the Sale contemplated by the

15   Purchase Agreement outside: (a) the ordinary course of business, pursuant to section 363(b) of the

16   Bankruptcy Code; and (b) a plan of liquidation, in that, among other things, the immediate

17   consummation of the Sale to Buyer is necessary and appropriate to preserve and to maximize the

18

19   Rule 6004 with respect to the transactions contemplated by this Order.

20           M.       Final Order. This Order constitutes a final order within the meaning of 28 U.S.C. §

21   158(a). Notwithstanding Bankruptcy Rule 6004(h), and to any extent necessary under Bankruptcy

22   Rule 9014 and Rule 54(b) of the Federal Rules of Civil Procedure, as made applicable by

23   Bankruptcy Rule 7054, the Court expressly finds that there is no just reason for delay in the

24   implementation of this Order, waives any stay, and expressly directs entry of judgment as set forth

25   herein. Debtor has demonstrated compelling circumstances and a good, sufficient and sound

26   business purpose and justification for the immediate approval and consummation of the Sale as

27   contemplated by the Purchase Agreement. Buyer, being a good faith Buyer under section 363(m)

28   of the Bankruptcy Code, may close the Sale contemplated by the Purchase Agreement at any time

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 1   after entry of this Order.

 2           IT IS HEREBY ORDERED THAT:

 3           1.       Motion Granted. The Motion is GRANTED as set forth herein.

 4           2.       No Objections. No objections to the Motion were filed.

 5           3.       Notice. Notice of the Motion, Sale (and the Transactions and Purchase Agreement

 6   contemplated in connection therewith), Sale Hearing, and all deadlines related thereto, was fair and

 7   equitable under the circumstances and complied in all respects with section 102(1) of the

 8   Bankruptcy Code and Bankruptcy Rules 2002 and 6004.

 9           4.       Approval. Debtor is authorized to enter into the Purchase Agreement, the Sale, and

10   the other Transactions (including any amendments, supplements, and modifications thereto, and all

11   of the terms and conditions therein). Pursuant to sections 105 and 363 of the Bankruptcy Code,

12   Debtor is authorized and directed to consummate the Sale, including, without limitation, the sale

13   and transfer of the Assets to Buyer in accordance with, and subject to, the terms and conditions of

14   the Purchase Agreement, and to transfer and assign all right, title and interest (including common

15   law rights) to all Assets as defined in the Purchase Agreement which rights shall be conveyed free

16   and clear of all Excluded Liabilities and Encumbrances to the extent set forth in, and in accordance

17   with and subject to, the terms and conditions of the Purchase Agreement. Debtor and Buyer are

18   each hereby authorized and directed to take any and all actions necessary or appropriate to: (a)

19   consummate the Sale of the Assets to Buyer and the Closing of the Sale pursuant to the Purchase

20   Agreement and this Order and (b) perform, consummate, implement, and close fully the Purchase

21   Agreement together with any and all additional instruments and documents that may be reasonably

22   necessary or desirable to implement the Purchase Agreement. Debtor is hereby authorized and

23   directed to perform each of its covenants and undertakings as provided in the Purchase Agreement

24   prior to or after the Closing of the Sale without further order of the Court. The failure to

25   specifically include any particular provision of the Purchase Agreement in this Order shall not

26   diminish or impair the effectiveness of such provision, it being the intent of the Court that the

27   Purchase Agreement (including, but not limited to, all ancillary agreements and Related Documents

28   contemplated thereby) be authorized and approved in its entirety. All persons are prohibited from

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 1   taking any action to adversely affect or interfere with the ability of Debtor to transfer the Assets to

 2   Buyer in accordance with the Purchase Agreement and this Order. The Assets sold pursuant to the

 3                                                         -

 4   warranties from Debtor as to the quality or fitness of such assets for either its intended or any other

 5   purposes.

 6           5.       No Plan Modifications

 7   shall not be altered, amended, rejected, discharged or otherwise affected by any chapter 11 plan

 8   proposed or confirmed in the Bankruptcy Case without the prior written consent of Buyer. The

 9   provisions of this Order and any actions taken pursuant hereto shall survive the entry of any order

10

11   to a case under chapter 7 of the Bankruptcy Code.

12           6.       Transfer Free and Clear. One or more of the standards set forth in section 363(f)(l)-

13   (5) of the Bankruptcy Code has been satisfied. Pursuant to sections 105 and 363 of the Bankruptcy

14   Code, the Assets are transferred by Debtor to Buyer free and clear of the Excluded Liabilities,

15   Encumbrances, any lien (statutory or otherwise), hypothecation, encumbrance, security interest,

16   mortgage, pledge, restriction, charge, instrument, license, preference, priority, security agreement,

17   easement, covenant, encroachment, option, or other interest in the subject property, including,

18   without limitation, any right of recovery, tax (including foreign, federal, state, and local tax), order

19   of any governmental authority, or other claim with respect thereto, of any kind or nature (including

20   (a) any conditional sale or other title retention agreement and any lease having substantially the

21   same effect as any of the foregoing, (b) any assignment or deposit arrangement in the nature of a

22   security device, (c) any claims based on any theory that Buyer is a successor, transferee or

23   continuation of Debtor, or the Assets, or that a de facto merger resulted from the transfer of the

24   Assets, and (d) any leasehold interest, license or other right, in favor of a person other than Buyer,

25   to use any portion of the Assets), whether secured or unsecured, choate or inchoate, filed or unfiled,

26   scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, contingent or

27   noncontingent, material or nonmaterial                                          Interests

28                       Interest                                                            provided

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 1   however that any cure amount pursuant to section 365 of the Bankruptcy Code owing to 380 Group

 2   in connection with an assumption and assignment of the 380 License to Buyer shall be paid by

 3   Buyer. Each holder of any Interest against Debtor, its estate, or any of the Assets: (a) has, subject

 4   to the terms and conditions of this Order, consented to the Sale or is deemed to have consented to

 5   the Sale; (b) could be compelled, in a legal or equitable proceeding, to accept money satisfaction of

 6   such Interest; or (c) otherwise falls within the provisions of 11 U.S.C. § 363(f). No holders of

 7   Interests filed objections to the Motion and all Interest holders are deemed, subject to the terms of

 8   this Order, to have consented to the Sale pursuant to 11 U.S.C. § 363(f)(2). Debtor is authorized

 9   and directed to transfer the Assets to Buyer in accordance with the terms of the Purchase

10   Agreement and this Order. Upon the Closing, such transfer shall: (x) be valid, legal, binding and

11   effective; (y) vest Buyer with all right, title and interest of Debtor in the Assets; and (z) be free and

12   clear of all Interests, Encumbrances, Excluded Liabilities and any other claims and interests in

13   accordance with section 363(f) of the Bankruptcy Code. All persons having claims or interests of

14   any kind or nature whatsoever against Debtor or the Assets, including without limitation Interests,

15   Encumbrances, or Excluded Liabilities, shall be forever barred, estopped and permanently enjoined

16   from creating, perfecting, pursuing, enforcing, attaching, collecting, recovering, or asserting such

17   claims or interests against Buyer or any of its assets, property, affiliates, successors, assigns, or the

18   Assets.

19             7.     Proceeds of the Sale. The proceeds of the Sale of the Assets shall be transmitted by

20

21   upon entry of a Court order authorizing such distribution or in accordance with a confirmed Plan of

22   Reorganization for Small Business Under Chapter 11.

23             8.     Surrender of Possession. Except as otherwise provided in the Purchase Agreement,

24   any Assets in the possession or control of any person or entity, including any vendor, supplier,

25   attorney or employee of Debtor, shall be delivered to Buyer free and clear of all Interests, including

26   without limitation free and clear of the Encumbrances and the Excluded Liabilities, and deemed

27   delivered at the time of Closing (or such other time as provided in the Purchase Agreement).

28             9.     Vesting of Assets in Buyer. Effective upon the Closing, the transfer to Buyer of the

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 1   Assets pursuant to the Purchase Agreement shall be, and hereby is deemed to be, a legal, valid and

 2   effective transfer of the Assets, and vests with or will vest in Buyer all the Assets free and clear of

 3   Interests, including without limitation free and clear of Encumbrances and Excluded Liabilities.

 4   This Order (a) shall be effective as a determination that upon the Closing (i) no claims arising from

 5   any period prior to the Closing can be asserted against Buyer, (ii) the Assets shall have been

 6   transferred to Buyer free and clear of all Encumbrances, and (iii) the conveyances described herein

 7   have been effected, (b) is and shall be binding upon and govern the acts of all entities, including

 8   without limitation, all filing agents, filing officers, title agents, title companies, recorders of

 9   mortgages, recorders of deeds, registrars of deeds, registrars of patents, trademarks, or other

10   intellectual property, administrative agencies, governmental departments, secretaries of state,

11   federal and local officials, and all other persons and entities who may be required by operation of

12   law, the duties of their office, or contract, to accept, file, register, or otherwise record or release any

13   documents or instruments, and each of the foregoing persons and entities is hereby directed to

14   accept for filing any and all documents and instruments necessary and appropriate to consummate

15   the transactions contemplated by the Purchase Agreement.

16           10.      Injunction. All persons are hereby enjoined from taking any action that would

17   interfere with or adversely affect the ability of Debtor to transfer the Assets in accordance with the

18   terms of the Purchase Agreement and this Order. Following the Closing, no holder of any Interest

19

20   such Interest or based on any actions or inactions Debtor may take in the Bankruptcy Case.

21           11.      Direction to Creditors and Parties in Interest. On the Closing, but subject to the

22

23   to execute such documents and take all other actions as may be necessary to terminate, discharge or

24   release their Encumbrances against the Assets, if any, as such Encumbrances may otherwise exist.

25           12.      Direction to Government Agencies. Each and every filing agent, filing officer, title

26   agent, recording agency, governmental department, secretary of state, federal, state and local

27   official, and any other person and entity who may be required by operation of law, the duties of its

28   office or contract, to accept, file, register, or otherwise record or release any documents or

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 1   instruments or who may be required to report or insure any title in or to the Assets, is hereby

 2   authorized and directed to accept any and all documents and instruments necessary and appropriate

 3   to consummate the Sale and approved by this Order.

 4           13.      Good Faith Buyer. Buyer is entitled to all of the protections afforded by section

 5   363(m) of the Bankruptcy Code, and Buyer has proceeded in good faith in all respects in

 6   connection with the Sale.

 7           14.      Consummation of Sale. Pursuant to sections 105 and 363 of the Bankruptcy Code,

 8   Debtor, as well as its officers, employees and agents, are authorized to enter into, execute, deliver

 9   and perform their obligations under and comply with the terms of the Purchase Agreement and to

10   close and consummate the Sale, including by taking any and all actions as may be reasonably

11   necessary or desirable to implement the Sale pursuant to and in accordance with the terms and

12   conditions of the Purchase Agreement and this Order.

13           15.      Transfer of Marketable Title. Upon the Closing, this Order shall be construed and

14   shall constitute for any and all purposes a full and complete general assignment, conveyance and

15   transfer of the Assets or a bill of sale transferring good and marketable title in the Assets to Buyer

16   at the Closing pursuant to the terms of the Purchase Agreement, free and clear of all Encumbrances

17   and Excluded Liabilities.

18           16.      No Successor Liability. By virtue of the Sale, Buyer and its affiliates, successors

19   and assigns shall not be deemed or considered to: (a) be a legal successor, or otherwise be deemed a

20   successor to any of Debtor; (b) have, de facto or otherwise, merged with Debtor; (c) be a

21   consolidation with Debtor or its estate; or (d) be an alter ego or a continuation or substantial

22   continuation, or be holding itself out as a mere continuation, of Debtor, its estate, business or

23   operations, or any enterprise of Debtor, in each case by any law or equity. None of Buyer or its

24   affiliates, successors, assigns, equity holders, officers, directors, employees or professionals shall

25   have or incur any liability to, or be subject to any action by Debtor or its estate, predecessors,

26   successors, or assigns, arising out of the negotiation, investigations, preparation, execution, or

27   delivery of the Purchase Agreement and entry into and consummation of the sale of the Assets,

28   except as expressly provided in the Purchase Agreement or this Order.

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     3822.02    ORDER APPROVING THE           SALE OF SUBSTANTIALLY ALL ASSETS OF THE ESTATE, etc.
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 1           17.      Approval to Release Encumbrances. If any person or entity that has filed financing

 2   statements or other documents or agreements evidencing Encumbrances on the Assets shall not

 3   have delivered to Debtor before the Closing, in proper form for filing and executed by the

 4   appropriate parties, termination statements, instruments of satisfaction, releases of liens, and any

 5   other documents necessary for the purpose of documenting the release of all Encumbrances that the

 6   person or entity has or may assert with respect to the Assets, Debtor and Buyer are hereby

 7   authorized to execute and file such statements, instruments, releases and other documents on behalf

 8   of such person or entity with respect to the Assets. Buyer is hereby authorized to file, register or

 9   otherwise record a certified copy of this Order, which, once filed, registered or otherwise recorded,

10   shall constitute evidence of the release of the Interests against the Assets; provided that,

11   notwithstanding anything in the Order or Purchase Agreement to the contrary, the provisions of the

12   Order shall be self-executing, and the Buyer shall not be required to execute or file releases,

13   termination statements, assignments, consents, or other instruments in order to effectuate,

14   consummate, and implement the provisions of this Order. This Order is deemed to be in recordable

15   form sufficient to be placed in the filing or recording system of each and every federal, state,

16   county, or local government agency, department, or office. For the avoidance of doubt, upon

17   consummation of the Sale as set forth in the Purchase Agreement, Buyer is granted power of

18   attorney and authorized to file termination statements lien terminations, releases, or other

19   amendments in any required jurisdiction to remove and record, notice filings or financing

20   statements recorded to attach, perfect, or otherwise notice any Encumbrances that is extinguished or

21   otherwise released pursuant to this Order under section 363 and the related provisions of the

22   Bankruptcy Code.

23           18.      Inconsistencies with Prior Orders, Pleadings or Agreements. To the extent this

24   Order is inconsistent with any prior order or pleading in the Bankruptcy Case, the terms of this

25   Order shall govern. To the extent there is any inconsistency between the terms of this Order and

26   the terms of the Purchase Agreement (including all ancillary documents executed in connection

27   therewith), the terms of this Order shall govern.

28           19.      Subsequent Orders and Plan Provisions. Unless otherwise agreed to by Debtor and

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 1   Buyer, Order shall not be modified by any chapter 11 plan confirmed in the Bankruptcy Case or any

 2   subsequent order(s) of this Court.

 3           20.      Binding Effect of Order. This Order and the Purchase Agreement shall be binding in

 4   all respects upon Debtor, its estate, all creditors of, and holders of equity interests in, Debtor, any

 5   holders of liens on the Assets (whether known or unknown), Buyer and all successors and assigns

 6

 7   any trustees,

 8   conversion to chapter 7 under the Bankruptcy Code, and the Purchase Agreement shall not be

 9   subject to rejection or avoidance under any circumstances.

10           21.      No Avoidance of Purchase Agreement. Neither Debtor nor Buyer have engaged in

11   any conduct that would cause or permit the Purchase Agreement to be avoided or costs or damages

12   to be imposed under section 363(n) of the Bankruptcy Code. Accordingly, the Purchase Agreement

13   and the Sale shall not be avoidable under section 363(n), chapter 5 of the Bankruptcy Code, or

14   under any other applicable laws of the United States, any state, territory or possession or the District

15   of Columbia, and no party shall be entitled to any damages or other recovery pursuant to section

16   363(n) of the Bankruptcy Code in respect of the Purchase Agreement or the Sale.

17           22.      Entire Purchase Agreement Approved. The failure to specifically include any

18   particular provisions of the Purchase Agreement or any related agreements in this Order shall not

19   diminish or impair the effectiveness of such provision, it being the intent of the Court, Debtor and

20   Buyer that the Purchase Agreement is authorized and approved in its entirety with such

21   amendments thereto as may be made by the parties in accordance with this Order. Debtor and

22   Buyer are authorized to take all actions necessary or appropriate to effectuate the relief granted in

23   this Order and the Purchase Agreement.

24           23.      Nonseverable. The provisions of this Order are nonseverable and mutually

25   dependent.

26           24.      Immediate Effect. This Order constitutes a final order within the meaning of 28

27   U.S.C. § 158(a). Notwithstanding any provision in the Bankruptcy Rules to the contrary, the terms

28   of this Order shall be immediately effective and enforceable upon its entry and not subject to any

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 1   stay, notwithstanding the possible applicability of Bankruptcy Rule 6004(h) or otherwise.

 2           25.      Automatic Stay. Buyer shall not be required to seek or obtain relief from the

 3   automatic stay under section 362 of the Bankruptcy Code to enforce any of its remedies under the

 4   Purchase Agreement, documents or other instruments. The automatic stay imposed by section 362

 5   of the Bankruptcy Code is modified to the extent necessary to implement the provisions of the

 6   Purchase Agreement and this Order.

 7           26.      Retention of Jurisdiction. This Court shall retain jurisdiction to, among other things,

 8   interpret, implement, and enforce the terms and provisions of this Order, the Purchase Agreement,

 9   and any and all amendments thereto, in connection with any disputes involving Debtor, and to

10   adjudicate, if necessary, any and all disputes concerning Debtor and related in any way to the Sale;

11   provided, however, that in the event the Court abstains from exercising or declines to exercise

12   jurisdiction or is without jurisdiction, such abstention, refusal or lack of jurisdiction shall have no

13   effect upon and shall not control, prohibit or limit the exercise of jurisdiction of any other court

14   having competent jurisdiction with respect to any such matter.

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     3822.02    ORDER APPROVING THE           SALE OF SUBSTANTIALLY ALL ASSETS OF THE ESTATE, etc.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                         11766 Wilshire Blvd., Suite 450, Los Angeles, CA 90025

A true and correct copy of the foregoing document entitled MOTION FOR ORDER APPROVING THE SALE OF THE
DEBTOR’S CLAIMS FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES PURSUANT TO
11 U.S.C. §363(b)(1) AND (f)(2); MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF KATRINA
SIRDOFSKY, DANIEL J. WEINTRAUB IN SUPPORT THEREOF will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On October
24, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                            Service information continued on attached page


2. SERVED BY UNITED STATES MAIL:
On N/A, I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on N/A, I served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


October 24, 2022                 Yerika Ramirez                                                 /s/ Yerika Ramirez
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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